           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 1 of 109



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

DR. JEROME CORSI, Individually
Denville, NJ, 07834

And

LARRY KLAYMAN, Individually                  Case Number:
7050 W. Palmetto Park Rd. #15-287
Boca Raton, FL, 33433                        COMPLAINT

                      Plaintiffs

              v.

INFOWARS, LLC
100 Congress Ave., 22nd Floor
Austin, TX 78701

And

FREE SPEECH SYSTEMS, LLC
100 Congress Ave., 22nd Floor
Austin, TX 78701

And

ALEX E. JONES, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

And

DAVID JONES, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

And

OWEN SHROYER, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

                     Defendants.




                                         1
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 2 of 109



                                          INTRODUCTION

        Plaintiffs DR. JEROME CORSI (“Plaintiff Corsi or Dr. Corsi”) and LARRY

KLAYMAN (“Klayman”) hereby files this action against INFOWARS, LLC (“Defendant

InfoWars”), FREE SPEECH SYSTEMS, LLC (“Defendant Free Speech Systems”), ALEX E.

JONES (“Defendant Alex Jones”), DAVID JONES (“Defendant David Jones”) and OWEN

SHROYER (“Defendant Shroyer”) for Defamation, Intentional Infliction of Emotional Distress,

and Assault, and violation of the Lanham Act.

                                  JURISDICTION AND VENUE

        1.!     This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

        2.!     This Court has federal question jurisdiction over this case pursuant to 28 U.S.C §

1331.

        3.!     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), (3) in that a substantial part

of the events or omissions giving rise to Plaintiffs’ claims arose in this district. Defendants’

actions are targeted to influence Special Counsel Robert Mueller’s Russian collusion

investigation and prosecution of Roger Stone - who is a colleague of the Defendants - which is

centralized in this judicial district, and the defamatory and other illegal acts occurred herein.

                                           THE PARTIES

        4.!     Plaintiff Corsi is an author and political commentator who publishes works in this

judicial district and nationwide. Plaintiff Corsi is a citizen of New Jersey.

        5.!     Plaintiff Klayman is a public interest legal advocate, private practitioner and

litigator who represents Plaintiff Corsi with regard to Special Counsel Robert Mueller’s




                                                    2
               Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 3 of 109



(“Mueller”) Russian collusion investigation. Plaintiff Klayman is also a media personality and

author, columnist and syndicated radio talk show host. Plaintiff Klayman is a citizen of Florida.

        6.!      Defendant InfoWars is a Texas limited liability company with principal offices

located in Austin, TX.

        7.!      Defendant Free Speech Systems is a Texas limited liability company with principal

offices located in Austin, TX.

        8.!      Defendant Alex Jones is a well-known extreme “conspiracy theorist” and media

personality who creates content that is broadcasted on the radio and posted on the internet at

www.infowars.com and elsewhere on the internet and other social media sites. Defendant Alex

Jones is a citizen of Texas.

        9.!      Defendant David Jones is Defendant Alex Jones’s father and holds the official title

of Director of Human Relations for Defendant Free Speech Systems. On information and belief,

Defendant David Jones is the owner of Defendants InfoWars and Free Speech Systems and he

manages the business activities for Defendants InfoWars and Free Speech Systems, as well as

Defendant Alex Jones’ other companies. Defendant David Jones is a citizen of Texas. At all

material times he worked in concert with the other Defendants and Roger Stone and furthered and

ratified and furthered the illegal acts set forth in this Complaint.

        10.!     Defendant Shroyer is a newscaster for Defendant InfoWars. Defendant Shroyer is a

citizen of Texas.

                                        GENERAL ALLEGATIONS

        11.!     Defendant InfoWars and Defendant Free Speech Systems are both owned,

controlled, and operated by Defendant Alex Jones and David Jones. Defendant Free Speech

Systems owns www.infowars.com, where content created by Defendants Alex Jones and Shroyer




                                                     3
               Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 4 of 109



are posted and broadcast into this district, nationally and internationally.

        12.!     Defendant Alex Jones hosts The Alex Jones Show, which is broadcast on radio

and internet social media networks throughout the United States of America and internationally,

including this judicial district, and online.

        13.!     Defendant Shroyer hosts The War Room along with Roger Stone (“Stone”), which

is broadcast on radio and internet social media networks throughout the United States of America

and internationally, including this judicial district, and online.

        14.!     Defendants’ reach and influence are enormous. On information and belief,

Defendant Alex Jones and InfoWars has a radio audience of over two million people. Before it

was banned from YouTube, Defendant Alex Jones’ and InfoWars’ channel had more than 2.4

million subscribers.1

        15.!     Defendants, each and every one of them, in concert, do substantial business and

promote and sell various goods in this judicial district and nation-wide, including medicine,

supplements, and “tchotchkes” with InfoWars branding. The money earned from these sales

funds the conspiracy between Defendants and Stone to defame, intimidate, coerce and threaten

Plaintiffs in order to try to improperly influence the Mueller Russian collusion investigation and

to coerce false testimony from Plaintiff Corsi favorable to Stone in his upcoming criminal

prosecution.

        16.!     Stone also does business promotes and sells various goods in this judicial district

and nation-wide, including medicine, supplements, books, and “tchotchkes” with his own

branding. The money earned from these sales funds Stone’s legal defense fund and the

1
  Casey Newton, YouTube deletes Alex Jones’ channel for violating its community guidelines,
The Verge, Aug. 6, 2018, available at: https://www.theverge.com/2018/8/6/17656708/youtube-
alex-jones-infowars-account-deleted-facebook-apple-spotify



                                                   4
                Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 5 of 109



conspiracy between Defendants and Stone to defame, intimidate, coerce and threaten Plaintiffs in

order to try to improperly influence the Mueller Russian collusion investigation and to coerce

false testimony from Plaintiff Corsi favorable to Stone in his upcoming criminal prosecution.

         17.!     Defendants have a long and sordid history of publishing and broadcasting

defamatory material, including falsely, recklessly and baselessly accusing the families of the

schoolchildren who lost their lives during the 2012 Sandy Hook Elementary School massacre of

staging the massacre and faking the deaths of their children.2

         18.!     The Sandy Hook families had to endure years of abuse and torture from

Defendants before finally filing suit against numerous parties involved with InfoWars, including

Defendant Alex Jones and Shroyer, for defamation.

         19.!     As just one example, a Florida woman was arrested for making death threats to a

parent of a Sandy Hook victim.3 According to the U.S. Department of Justice, the motivation

behind the threats was the lies propagated by Defendants that the Sandy Hook massacre was a

hoax.4

         20.!     Furthermore, Defendant Alex Jones in concert with the other Defendants

propagated and promoted the “Pizzagate” conspiracy on his show, accusing a restaurant called

Comet Ping Pong in the Washington D.C. area of operating a child sex ring in its non-existent

basement that purportedly involved Hillary Clinton and John Podesta. This caused one of his

listeners to shoot up the restaurant after being told by Defendant Jones to “self-investigate” the

2
  Aaron Katersky, Families of Sandy Hook shooting victims win legal victory in lawsuit against
InfoWars, Alex Jones, ABC News, Jan. 11, 2019, available at:
https://abcnews.go.com/US/families-sandy-hook-shooting-victims-win-legal-
victory/story?id=60314174
3
  Daniella Silva, Conspiracy Theorist Arrested for Death Threats Against Sandy Hook Parent,
NBC News, Dec. 7, 2016, available at: https://www.nbcnews.com/news/us-news/conspiracy-
theorist-arrested-death-threats-against-sandy-hook-parent-n693396
4
  Id.


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              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 6 of 109



“Pizzagate” conspiracy theory.5

       21.!     Defendants, acting in concert, propagated these outrageous lies with no regard for

the grief of their victims in order to gain notoriety, fame, and profit.

       22.!     Defendants, acting in concert, as part of their latest scheme for notoriety, fame,

and profit, are now working in concert with Stone to defame, intimidate, and threaten Plaintiffs.

       23.!     Stone, who recently been indicted on seven counts of perjury, witness tampering

and obstruction of justice by Special Counsel Robert Mueller and then placed under a total gag

order by the jurist, the Honorable Amy Berman Jackson, presiding over his prosecution for, in

part, even threatening her, has appeared numerous times on shows broadcasted by Defendant

InfoWars, and hosted by Defendants Alex Jones and Shroyer, where Stone and Defendants have

published malicious false, misleading, and defamatory statements concerning Plaintiffs.

       24.!     Again, Stone was recently indicted by Special Counsel Robert Mueller (“Mueller

Indictment”) as part of his “Russian Collusion” investigation for the alleged crimes of perjury,

witness tampering and obstruction of justice. The indictment comprises seven different felony

counts. See Exhibit 1 – Mueller Indictment. Importantly, Dr. Corsi was not accused of any

wrongdoing or illegality in the Mueller Indictment, in which he named as Person 1, a material

witness to the alleged crimes committed by Stone. (Note: The facts set forth in all Exhibits

attached to and referenced in this Complaint are factually incorporated into this Complaint by

reference).

       25.!     Specifically, the seven count Mueller Indictment against Stone involves alleged

lying under oath - that is, perjury - witness tampering and obstruction of justice by threatening to

5
 James Doubek, Conspiracy Theorist Alex Jones Apologizes For Promoting 'Pizzagate', NPR,
Mar. 26, 2017, available at: https://www.npr.org/sections/thetwo-
way/2017/03/26/521545788/conspiracy-theorist-alex-jones-apologizes-for-promoting-pizzagate



                                                   6
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 7 of 109



kill a material witness, Randy Credico (“Credico”) and his service dog, if Credico did not lie to

government authorities concerning his involvement with Roger Stone. Credico is Person 2 in the

Mueller Indictment of Stone. Id. Person 1 in this Mueller Indictment is Dr. Corsi.

       26.!     Even before Stone was indicted, he began a public relations campaign in this

district, nationally and internationally to maliciously defame, smear, intimidate and threaten Dr.

Corsi and Plaintiff Klayman, Plaintiff Corsi’s lawyer and defense counsel.

       27.!     As just one example, in an article from The New Yorker, Stone was quoted as

saying about Plaintiff Corsi, “He’s certifiably insane, and he has told multiple provable lies.”6

This malicious defamatory statement, among others, was published in concert with Defendants.

       28.!     Stone knew that he was going to be indicted, and therefore began this public

relations campaign to maliciously defame smear, intimidate and threaten Plaintiff. Corsi and

Plaintiff Klayman, even before his actual indictment on January 25, 2019, in order to try to

influence public opinion and Special Counsel Robert Mueller – by trying to attribute guilt to

Plaintiff Corsi and not him - as well as to try to raise money for his legal defense. This

defamatory public relations campaign is and continues to be calculated to coerce Plaintiff Corsi

to testify falsely at Stone’s upcoming criminal trial before Judge Jackson. This pattern and

practice of defaming, intimidating and threatening Plaintiff Corsi and Plaintiff Klayman is

pervasive and ongoing, and therefore Plaintiffs reserve the right to amend this Complaint.

Defendants, as alleged herein, are acting in concert with Stone to engage in criminal witness

tampering and obstruction of justice not just with regard to Plaintiff Corsi, who is Person 1 in the

indictment of Stone, and thus a material witness, but also Dr. Corsi’s attorney Larry Klayman.


6
  Jeffrey Toobin, Roger Stone’s and Jerome Corsi’s Time in the Barrel, The New Yorker, Feb.
18 & 25 Issue, available at: https://www.newyorker.com/magazine/2019/02/18/roger-stones-and-
jerome-corsis-time-in-the-barrel



                                                 7
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 8 of 109



This action by Defendants, each and every one of them, jointly and severally against Plaintiff

Corsi and his attorney Plaintiff Klayman constitute crimes pursuant to 18 U.S.C. § 1512.

       29.!     Stone likes to portray himself as Mafia, and indeed on information and belief has

Mafia connections, frequently making reference to Mafia figures who he admires, as well as

other unsavory types who have been alleged to have engaged in unethical and/or illegal behavior.

For example, he frequently makes reference to his heroes being Hyman Roth in the ‘Godfather,”

who was the movie version of Meyer Lansky, and Roy Cohn, not to mention, Richard Nixon, for

his role in Watergate. In this regard, after Stone was indicted he held a press conference on the

courthouse steps of the federal courthouse in Ft. Lauderdale, where he was booked, with his arms

defiantly in the air in the “victory’ pose used by Nixon after he resigned in disgrace as a result of

the Watergate scandal. At the time, Stone had been employed by a Nixon group called CREEP,

or the Committee to Reelect the President. Defendant Stone even has a large tattoo of Richard

Nixon affixed to his back. Thus, given his admiration for persons such as these, particularly

Mafia figures, his actions as pled herein can be taken as threats, as well as being defamatory.

And, Plaintiff Corsi is 72 years old and thus very vulnerable emotionally and physically to these

threats. Stone’s intentional infliction of emotional distress and coercion and threats are intended

to try even cause Plaintiff Corsi to have heart attacks and strokes, in order that Plaintiff will be

unable to testify at Stone’s criminal trial. Tellingly, Stone threatened kill a material witness and

his service dog, Credico, Person 2 in the Mueller Indictment, “Mafia style.” Stone also fashions

himself and indeed has the reputation, at a minimum, as being the preeminent “dirty trickster.”

See “Get Me Roger Stone” on Netflix.

       30.!     By defaming Plaintiffs, Stone is hoping to not only intimidate Plaintiffs to

severely harm and damage their reputations, but also to coerce and threaten Plaintiff Corsi to




                                                 8
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 9 of 109



testify falsely if subpoenaed to be called as a material witness in Stone’s ensuing criminal trial.

He is also trying divert funds away from Dr. Corsi’s legal defense fund, while boosting his own

legal defense fund.

       31.!     Defendants and Stone’s conspiracy to defame, smear, intimidate, tamper with and

threaten Plaintiffs is calculated to improperly and illegally influence the Russian collusion

investigation, for which Stone has already been criminally indicted and to coerce false testimony

favorable to Stone at his upcoming prosecution. This illegal conduct is also maliciously intended

to harm Plaintiffs’ reputations and credibility as Stone fears that Dr. Corsi will testify truthfully

if subpoenaed by Special Counsel Mueller at Stone’s upcoming criminal prosecution.

       32.!     Stone has also used and continues to employ surrogates, either out in the open or

secretly, to defame Plaintiffs, such as Defendants herein, and his “friend” Michael Caputo,

Cassandra Fairbanks, reporter Chuck Ross of The Daily Caller, and Tom Fitton of Judicial

Watch, to name just a few.

       33.!     Tellingly, in a video published by The Daily Caller, Defendant Shroyer appearing

with Stone, admits that he will serve as a surrogate for Stone if Stone receives a gag order, which

he has. 7 The other Defendants, like Stoyer, are also surrogates of Stone.

       34.!     Stone’s illegal and improper attempts to influence the Russian collusion

investigation has even been recognized by the presiding judge, the Honorable Amy Berman

Jackson (“Judge Jackson”), who has now issued a complete “gag” order on Stone after Stone

attempted to incite violence against Judge Jackson by putting a picture of her face and gun

crosshairs up on his Instagram account.8

7
 https://www.youtube.com/watch?v=SSDkh5RYtGo
8
 Judge in Roger Stone case orders hearing after he appeared to threaten her on Instagram,
Washington Post, Feb. 19, 2019, available at:
https://www.washingtonpost.com/politics/2019/02/18/roger-stone-deletes-photo-judge-presiding-


                                                 9
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 10 of 109



       35.!    In her minute order of February 21, 2019 imposing the total “gag” order on Stone,

Judge Jackson directly cites and references his use of surrogates:

       Furthermore, the defendant may not comment publicly about the case indirectly
       by having statements made publicly on his behalf by surrogates, family members,
       spokespersons, representatives, or volunteers.

       36.!    Further evidence of Stone’s collaboration with Defendants, as well as Stone’s

pattern and practice of defamatory, intimidating, coercive, threatening and defamatory conduct is

set forth in an amicus curiae brief filed by Plaintiff Klayman on behalf of Plaintiff Corsi in

Stone’s criminal case. Such evidence is attached hereto as Exhibit 2 and incorporated herein by

reference, as well as civil complaint filed by Corsi and Klayman against Stone, and in a civil

complaint filed by Klayman against Fitton. See Exhibits 3, 4, and 5, which are incorporated

herein by reference.

       37.!    Defendants have, by working in concert with Stone, therefore engaged in illegal

witness tampering, intimidation and threats in violation of 18 U.S.C. § 1512 by virtue of the

defamatory and threatening acts and practices as alleged herein. Not coincidentally, this was

what largely Stone was indicted for by Special Counsel Robert Mueller.

                         DEFENDANTS’ DEFAMATORY CONDUCT

       38.!    Stone has appeared numerous times on programs of the Defendants, The Alex

Jones Show and The War Room, which are hosted by Defendant Alex Jones and Shroyer where

numerous false, misleading, malicious and defamatory statements of and concerning Plaintiffs

were made, published, and or ratified by all of the Defendants, each and every one of them.

       39.!    Plaintiffs have demanded retraction and correction of the defamatory videos and

publications set forth below and generally in this Complaint, but Defendants have refused,


over-his-case-says-he-didnt-mean-threaten-her/?utm_term=.2d3c5afa6326



                                                10
             Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 11 of 109



thereby ratifying any and all defamatory statements contained therein.

        40.!     Defendants, at a minimum, acted recklessly, as they have known Plaintiff Corsi

for a long time, and even worked with him and are also familiar with Plaintiff Klayman, so they

were well aware that the statements made by Stone, and their own false, misleading, malicious

and defamatory statements were, indeed, false, as well as their ratification of the malicious false

statements published by Stone on their networks and media sites.

        41.!     As the content containing the malicious false, misleading, and defamatory

statements were published on the internet, it is proliferated like a “cancerous virus,” and is now

available for viewing from countless sources, thereby exponentially increasing the prejudicial

and defamatory impact and severe damage inflicted on Plaintiffs. Judge Jackson, in issuing her

two gag orders against Stone, herself recognized how postings on the internet proliferate widely

and once made cannot be taken back.

        I.       The October 26, 2018 Video

        42.!     In a video from October 26, 2018, Defendant Alex Jones, acting in concert with

the other Defendants, makes several false, misleading, malicious and defamatory statements

about Plaintiff Corsi.9

        43.!     At 0:45, Defendant Alex Jones maliciously and falsely published that Plaintiff

Corsi “seemed to be extremely mentally degraded to the point of what I would call dementia.”

        44.!     In the same video, Defendant Alex Jones, acting in concert with the other

Defendants, maliciously fabricates a story where he purportedly saw Plaintiff Corsi at a

steakhouse “on the ground at another table” and that his security staff “thought he was dead in

the elevator.”

        45.!     At 5:08, Defendant Alex Stone, acting in concert with the other Defendants, after
9
    https://www.youtube.com/watch?v=UuXPAn0nZo8


                                                 11
               Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 12 of 109



accusing Plaintiff Corsi of having suffered a stroke, publishes maliciously that “whatever comes

out of his mouth ain’t the truth.”

         46.!     Tellingly and not at all coincidentally, Stone appeared as a guest on the same

video, as evidence of Defendants working in concert with Stone.

         47.!     These malicious false, misleading, and defamatory statements were published by

Defendants to discredit Plaintiff Corsi in order to preserve the reputation of their co-conspirator,

Stone before Mueller’s Russian collusion investigation, as Stone has been indicted and Plaintiff

Corsi named a material witness.

         II.      The January 18, 2019 Video

         48.!     Before Stone was indicted, on or about January 18, 2019, he appeared on The War

Room with Defendant Shroyer, where he made several malicious false, misleading, and

defamatory statements in this district, nationally and internationally regarding Plaintiffs (the

“January 18 Video”).10 The same video was published on Stone’s YouTube channel, “Stone Cold

Truth,” on January 18, 2019.11

         49.!     These malicious false, misleading, and defamatory statements were adopted and

published by each and every one of the Defendants, rendering them joint tortfeasors and jointly

and severally liable.

         50.!     At 2:09 in the January 18 Video, Stone maliciously and falsely published that

Plaintiff Corsi was “fired from World Net Daily.”

         51.!     At 2:27 in the January 18 Video, Stone maliciously falsely and misleadingly

published that, “He (Corsi) was perfectly willing to lie, to perjure himself saying that a memo

that he had wrote me was written on the 30th for the purposes of cover-up…. which is further

10
     https://www.infowars.com/watch/?video=5c3fbf24fe49383dcf6996e4
11
     https://www.youtube.com/watch?v=cJyfgdvtFx8


                                                 12
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 13 of 109



proof that Jerry lied under oath.”

       52.!    At 2:55 in the January 18 Video, Stone maliciously falsely and misleadingly

published, “and then states that I knew about John Podesta’s emails being stolen in advance, the

only proof of that is Jerry’s feeble alcohol affected memory – it’s a lie….”

       53.!    At 3:35 in the January 18 Video, Stone maliciously falsely and misleadingly

published that “Jerry was prepared to stab a principle Trump supporter in the back, he was

perfectly prepared to bear false witness against me, even though I had done nothing in my entire

life other than help him.”

       54.!    At 4:20 in the January 18 Video, Stone maliciously falsely and misleadingly

published that “all I ever did was show Jerry Corsi friendship and support and try to help him

and his family and what I get is Judas Iscariot, the willingness to testify against me and help the

deep state bury me….and then he makes up this story about helping me formulate a cover story.”

       55.!    At 6:26 in the January 18 Video, Stone maliciously falsely published that “you

can always tell when Jerry Corsi is lying because his lips are moving….”

       56.!    At 1:25 in the January 18 Video, Stone maliciously falsely published that “He’s

(Klayman) never actually won a courtroom victory in his life.”

       57.!    At 1:30 in the January 18 Video, Stone maliciously falsely published, “He

(Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the current president of Judicial

Watch] why he left. He was ‘ousted’ because of a ‘sexual harassment complaint.’”

       58.!    In actuality and truth, Plaintiff Klayman left Judicial Watch on his own accord in

order to run for U.S. Senate in Florida in 2003-2004.

       59.!    Not coincidentally, Plaintiff Klayman has a jury verdict and judgment against

Fitton’s Judicial Watch for having defamed him with malice. Punitive damages were also




                                                13
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 14 of 109



awarded by the jury in the U.S. District Court for the Southern District of Florida. See Exhibit 5-

1.

       60.!    At 1:37 in the January 18 Video, Stone maliciously falsely published, “He’s

(Klayman) incompetent, he’s a numbskull, he’s an idiot, he’s an egomaniac, and he could be the

single worst lawyer in America. With him as Jerry Corsi’s lawyer, Corsi may get the electric

chair. So your idea that he’s a good guy is entirely wrong”

       61.!    In actuality, Plaintiff Klayman has been a practicing attorney for over four

decades and has won numerous cases on behalf of his clients and also against the government for

constitutional and other violations. He is the founder of both Judicial Watch and Freedom

Watch, a former candidate for the U.S. Senate in Florida, a former trial attorney and prosecutor

of the Antitrust Division of the U.S. Department of Justice, where he was a member of the trial

team that successfully broke up the AT&T monopoly and created competition in the

telecommunications industry. Among many other legal victories, Plaintiff Klayman also won

landmark decisions at the chairman and general counsel of Freedom Watch enjoining the illegal

mass surveillance by the National Security Agency. Klayman v. Obama, 1:13-cv-851 (D.D.C).

See Exhibit 6 --Klayman biography, which is incorporated herein by reference. Stone knew this

when he published the malicious false and misleading statements about Klayman and thus

willfully and maliciously defamed Plaintiff Klayman.

       62.!    At 2:01 in the January 18 Video, Stone maliciously falsely and misleadingly

published that Plaintiff Klayman is a “piece of garbage.”

       63.!    At 4:11 in the January 18 Video, Stone maliciously falsely and misleadingly

published, “For those people out there who think…that Larry Klayman’s IQ is higher than 70,

you’re wrong…”




                                                14
                Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 15 of 109



         64.!      Defendants published these malicious false, misleading, and defamatory

statements with malice and with full knowledge that they were false and misleading, and/or at a

minimum, with a reckless disregard for its truthfulness. These statements falsely and

misleadingly state that Plaintiff Corsi was fired from World Net Daily, that he committed perjury

(a federal offense), and that he is an untruthful person. They also create the false and misleading

implication that Plaintiff Klayman is unqualified to be an attorney, public advocate and is a bad

and loathsome person. Plaintiff Klayman is also an author, columnist and nationally syndicated

radio and internet talk show host on Radio America, his show titled “Special Prosecutor with

Larry Klayman.” See www.radioamerica.com. The malicious false and misleading published

statements as alleged herein also severely damaged Plaintiff Klayman personally and

professionally in this regard, particularly since he and his show compete with Defendant

InfoWars and and the other Defendants in media markets in this district, nationally and

internationally. Plaintiff Corsi also competes with Defendant InfoWars and the other Defendants

in media markets in this district, nationally and internationally.

         III.      Other Malicious Defamatory Publications

         65.!      In another appearance on InfoWars which was posted to YouTube12 on January

17, 2019, Stone at 6:22 maliciously falsely and misleadingly published that “He [Corsi] was

perfectly willing to bear false witness against me on multiple points that are complete

fabrications.”

         66.!      In another appearance on InfoWars, this time on The Alex Jones Show from

January 21, 2019, Stone maliciously falsely and misleadingly published that “the good doctor

[Corsi] has told a number of lies. In fact, he’s starting to conflate his lies…. he was perfectly

willing to lie about me…. but now lying about Alex Jones, lying about InfoWars, lying about Dr.
12
     https://www.youtube.com/watch?v=GJd8YBDvm1Q


                                                 15
             Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 16 of 109



(David) Jones, who’s one of the nicest, gentlest, sweetest, most honest men I have ever met, it’s

beyond the pale…. Jerry Corsi can no longer be believed.”13

         67.!   In the same appearance, Stone maliciously falsely and misleadingly published

that, “I think you’ve [Corsi] been deep state from the beginning. Your whole birther thing is used

as a club to destroy conservatives…. I look forward to our confrontation. I will demolish you.

You’re a fraudster, out of your alcoholic haze you have made up lies about David Jones and Alex

Jones and Roger Stone and now I suspect they want you to lie about the President.” This is

clearly a threat, as well as being maliciously defamatory. It is akin to the threats against Person 2

in the Mueller Indictment, Randy Credico, who Defendant Stone, as set forth in the Mueller

Indictment, based on Stone’s own words contained in his own documentary evidence, threatened

kill along with Credico’s service dog. Later Stone threatened the judge presiding over his

criminal prosecution, the Honorable Amy Berman Jackson.

         68.!   In the same January 21, 2019 video, at 43:40, Defendant Alex Jones maliciously

and falsely accuses Plaintiff Corsi of being a “spook, back and forth with different agencies,”

falsely saying that Dr. Corsi had worked with different government agencies.

         69.!   Defendant Alex Jones further maliciously falsely accuses Plaintiff Corsi of

sometimes “not being able to walk,” creating the false and defamatory implication that he is an

alcoholic.

         70.!   Defendants in concert published these false, misleading, and defamatory

statements in concert with Stone with malice and with full knowledge that they were false and

misleading, and/or at a minimum, with a reckless disregard for their truthfulness. These

statements falsely and misleadingly published that Plaintiff Corsi committed perjury (a federal

offense), is an untruthful person, and is an alcoholic. They also contain threats against Plaintiff
13
     https://www.youtube.com/watch?v=ANfe9d7YzL0 (Beginning at 38:00)


                                                 16
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 17 of 109



Corsi and his legal counsel Larry Klayman. Defendants, working in concert with Stone,

obviously believe that in order to advance their interests and improper if not criminal

motivations, they also have to destroy and severely harm the legal counsel of Plaintiff Corsi, who

is representing Plaintiff Corsi before Special Counsel Robert Mueller, congressional committees

and generally and will also counsel Plaintiff Corsi should he be subpoenaed to testify truthfully

in Stone’s upcoming criminal trial for perjury, witness tampering, threatening to kill a material

witness and his service dog, as well as obstruction of justice.

              FACTS PERTAINING TO DEFENDANTS’ UNFAIR COMPETITION

       71.!      In addition to being an investigative journalist/author and a public interest

litigator/advocate, respectively, Plaintiffs Corsi and Plaintiff Klayman are both competitors to

Defendants as conservative media personalities, broadcasters, authors and columnists on social

media and elsewhere.

       72.!      For instance, Plaintiff Klayman also hosts an online radio show and produces

videos that are posted on the internet, issues press releases, commentary and other publications.

       73.!      Defendants have made, adopted, and or ratified numerous false or misleading

statements of fact of and concerning Plaintiffs during their various programs and media postings

and publication, which all contain significant advertisement or promotions.

       74.!      These false and/or misleading facts materially prejudice the viewers and/or

listeners as to the quality, nature, and contents of Plaintiffs’ services, which has caused

significant competitive and commercial injury to Plaintiffs, as well as loss of good will and

reputation.

       75.!      Plaintiffs, like Defendants, rely on viewer and listener financial support and sales

in order to continue their work. Defendants’ false and/or misleading statements concerning




                                                  17
             Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 18 of 109



Plaintiffs is meant to, and has, diverted financial support and sales away from Plaintiffs and to

Defendants instead.

                                  FIRST CAUSE OF ACTION
                                         Defamation

        76.!    Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        77.!    Acting in concert Defendants published malicious, false, misleading and

defamatory statements of and concerning Plaintiffs in this judicial district, nationwide, and

worldwide.

        78.!    These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, or at a minimum acted with a reckless disregard for

the truth.

        79.!    Plaintiffs have been severely harmed and damaged by these false and misleading

statements because they subjected him to hatred, distrust, ridicule, contempt, and disgrace.

        80.!    Plaintiffs have been damaged by these false and misleading statements because

they severely injured Plaintiff Corsi and Plaintiff Klayman in their profession and businesses, as

well as severely injured and damaged them personally, financially and in terms of their good will

and reputations.

                                SECOND CAUSE OF ACTION
                                    Defamation Per Se

        81.!    Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        82.!    Acting in concert, Defendants as alleged herein, published numerous false,

misleading and defamatory statements to severely harm and damage Plaintiffs, which were




                                                 18
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 19 of 109



republished elsewhere, and through surrogates, which published the falsity that Plaintiffs have

committed crimes, including perjury, and engaged in moral turpitude in the form of alcoholism,

and committed sexual misconduct, as set forth in the preceding paragraphs.

        83.!     These false, misleading and defamatory statements were published in this district

and on the internet and elsewhere, domestically and for the entire world to see and hear and in so

doing Defendants published false and misleading facts, inter alia, that Plaintiffs’ conduct,

characteristics or a condition are incompatible with the proper exercise of their lawful business,

trade, profession or office, as well as personally.

        84.!     These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, and/or at a minimum acted with a reckless disregard

for the truth.

        85.!     This statements are per se defamatory because they falsely and misleadingly

published that Plaintiff Corsi committed perjury and Plaintiff Klayman had committed sexual

misconduct which are federal offense and felony. Defamation per se gives rise to the

presumption that severe harm and damage has arisen by virtue of the malicious false and

misleading statements.

        86.!     These malicious false, misleading, and defamatory statements are defamatory per

se and these false and misleading statements severely harmed and damaged Plaintiff Corsi in this

profession and business as a journalist, author and political commentator, whose credibility is the

most important trait, as well as personally and Plaintiff Klayman in his profession as a public

interest and private advocate and litigator and as an author, columnist and radio and internet

radio talk show and syndicated host, as well as personally.

                                  THIRD CAUSE OF ACTION
                                   Defamation by Implication



                                                  19
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 20 of 109




        87.!     Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        88.!     Acting in concert, Defendants published numerous false, misleading and

defamatory statements about Plaintiffs, as set forth in the preceding paragraphs.

        89.!     These false, misleading and defamatory statements were published on the internet

and published and republished elsewhere in this district, domestically and for the entire world to

see and hear.

        90.!     These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, and/or at a minimum acted with a reckless disregard

for the truth.

        91.!     These statements created the false and misleading implication that Plaintiff Corsi

is dishonest, committed perjury and is an alcoholic, and that Plaintiff Klayman committed sexual

misconduct and is incompetent, among other false and misleading statements as pled in the

preceding paragraphs.

        92.!     Plaintiffs have been severely harmed and damaged by these false and misleading

statements because they subject him to hatred, distrust, ridicule, contempt, and disgrace.

        93.!     Plaintiffs has been damaged by these malicious false and misleading statements

because the statements severely harmed and damaged Plaintiffs in their professions as

journalists, authors, columnists, pubic interest and private practitioner lawyers and radio talk

show hosts, whose credibility is the most important trait, as well as personally.

                                 FOURTH CAUSE OF ACTION
                            Intentional Infliction of Emotional Distress

        94.!     Plaintiffs re-alleges and incorporates by reference the allegations in the preceding




                                                  20
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 21 of 109



paragraphs of the Complaint as if fully set forth herein.

       95.!    Acting in concert, Defendants engaged in extreme and outrageous conduct by

threatening Plaintiffs, in concert with Stone, who has made death threats to at least one witness

involved in Special Counsel Mueller’s Russian collusion investigation, Person 2 Randy Credico,

as well as incited violence against Judge Amy Berman Jackson by posting a meme on Instagram

with a crosshairs and gun pointed at the jurist’s head, for which Stone was sanctioned with a total

gag order and threat of incarceration if this type of violative conduct of the Court’s gag order

occurred again, which it apparently has. See Exhibit 7.

       96.!    Defendants knowingly and intentionally threatened Plaintiffs, in a manner similar

to other death threats co-conspirator Stone made to at least one material witness, involved in

Special Counsel Mueller’s Russian collusion investigation, such as Randy Credico, Person 2 in

the Mueller Indictment, as well as Judge Amy Berman Jackson.

       97.!    Defendants’ extreme and outrageous conduct directly caused Plaintiffs severe

emotional distress and resulting severe harm and damage.

                                  FIFTH CAUSE OF ACTION
                                          Assault

       98.!    Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       99.!    Acting in concert, Defendants placed Plaintiffs in apprehension of an imminent

harmful or offensive contact and physical harm and death, by coercing and threatening Plaintiffs,

in a similar manner that co-conspirator Stone has used to make death threats to at least one

material witness involved in Special Counsel Mueller’s Russian collusion investigation, such as

Person 2 in the Mueller Indictment, Randy Credico and Judge Amy Berman Jackson.




                                                 21
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 22 of 109



       100.!   The threats issued by Defendants are credible, as co-conspirator Stone portrays

and sees himself as a “Mafia” figure, as set forth above.

       101.!   Furthermore, as set forth above, acting in concert Defendants have a pattern and

practice of calling their followers “to arms,” which has resulted in deadly violence against their

victims.

       102.!   Plaintiffs did not consent to Defendants’ conduct.

       103.!   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

suffered conscious pain, suffering, severe emotional distress and the fear of imminent serious

bodily injury or death, and other mental and physical injuries, and Plaintiffs were severely

harmed and damaged thereby.

                               SIXTH CAUSE OF ACTION
                     Unfair Competition – Lanham Act 15 U.S.C. § 1125(a)

       104.!   Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       105.!   Defendants have and are engaged in acts of unfair competition in violation of the

Lanham Act, 15 U.S.C. § 1125(a) and common law

       106.!   Defendants have made false and/or misleading statements that have deceived

and/or had the tendency to deceive a substantial segment of the receiving audience.

       107.!   Defendants’ false and/or misleading statements misrepresent the nature,

characteristics, and qualities of Plaintiff Klayman and Plaintiff Corsi’s goods or services.

       108.!   Defendants false and/or misleading statements are material because that were

highly likely to mislead and influence supporters’ decisions to provide financial support and

sales to Defendants instead of Plaintiffs

       109.!   These false and misleading statements were made in interstate commerce, as they



                                                 22
               Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 23 of 109



were widely broadcast on radio, on the internet, in social media, and elsewhere in this district,

nationally and internationally.

         110.!    Plaintiffs have suffered significant damages, which are ongoing, due to

Defendants’ false and/or misleading statements. By law these damages are calculated based on

Defendants’ gross sales and receipts, which are trebled, plus an award of attorneys fees and

costs.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

         a.!      Awarding Plaintiffs compensatory including actual, consequential, incidental and

punitive damages for malicious tortious concerted conduct, jointly and severally in an amount to

be determined at trial and in excess of $50, 000,000 U.S. Dollars for each Plaintiff.

         b.!      Awarding Treble Damages Under the Lanham Act, 15 U.S.C. 1125(a).

         c.!      Awarding Plaintiffs attorney fees and costs

         d.!      Granting such other relief as the Court deems appropriate and necessary including

preliminary and permanent injunctive relief.

         PLAINTIFFS DEMAND TRIAL BY JURY ON ALL CLAIMS SO TRIABLE.

Dated: March 7, 2019                                            Respectfully Submitted,


                                                                   /s/ Larry Klayman
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                                                                KLAYMAN LAW GROUP, P.A.
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                                                                Counsel for Plaintiffs Corsi and
                                                                Klayman



                                                  23
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 24 of 109




          EXHIBIT 1
              Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 25 of 109



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    *    CRIMINAL NO.
                                             *
         v.                                  *    Grand Jury Original
                                             *
 ROGER JASON STONE, JR.,                     *    18 U.S.C. §§ 1001, 1505, 1512, 2
                                             *
                  Defendant.                 *
                                             *
                                             *
                                             *
                                          *******

                                        INDICTMENT

The Grand Jury for the District of Columbia charges:

                                          Introduction

1.     By in or around May 2016, the Democratic National Committee (“DNC”) and the

Democratic Congressional Campaign Committee (“DCCC”) became aware that their computer

systems had been compromised by unauthorized intrusions and hired a security company

(“Company 1”) to identify the extent of the intrusions.

2.     On or about June 14, 2016, the DNC—through Company 1—publicly announced that it

had been hacked by Russian government actors.

3.     From in or around July 2016 through in or around November 2016, an organization

(“Organization 1”), which had previously posted documents stolen by others from U.S. persons,

entities, and the U.S. government, released tens of thousands of documents stolen from the DNC

and the personal email account of the chairman of the U.S. presidential campaign of Hillary

Clinton (“Clinton Campaign”).
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 26 of 109



       a.     On or about July 22, 2016, Organization 1 released documents stolen from the

              DNC.

       b.     Between on or about October 7, 2016 and on or about November 7, 2016,

              Organization 1 released approximately 33 tranches of documents that had been

              stolen from the personal email account of the Clinton Campaign chairman, totaling

              over 50,000 stolen documents.

4.     ROGER JASON STONE, JR. was a political consultant who worked for decades in U.S.

politics and on U.S. political campaigns. STONE was an official on the U.S. presidential campaign

of Donald J. Trump (“Trump Campaign”) until in or around August 2015, and maintained regular

contact with and publicly supported the Trump Campaign through the 2016 election.

5.     During the summer of 2016, STONE spoke to senior Trump Campaign officials about

Organization 1 and information it might have had that would be damaging to the Clinton

Campaign. STONE was contacted by senior Trump Campaign officials to inquire about future

releases by Organization 1.

6.     By in or around early August 2016, STONE was claiming both publicly and privately to

have communicated with Organization 1. By in or around mid-August 2016, Organization 1 made

a public statement denying direct communication with STONE. Thereafter, STONE said that his

communication with Organization 1 had occurred through a person STONE described as a “mutual

friend,” “go-between,” and “intermediary.” STONE also continued to communicate with members

of the Trump Campaign about Organization 1 and its intended future releases.

7.     After the 2016 U.S. presidential election, the U.S. House of Representatives Permanent

Select Committee on Intelligence (“HPSCI”), the U.S. Senate Select Committee on Intelligence

(“SSCI”), and the Federal Bureau of Investigation (“FBI”) opened or announced their respective



                                               2
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 27 of 109



investigations into Russian interference in the 2016 U.S. presidential election, which included

investigating STONE’s claims of contact with Organization 1.

8.     In response, STONE took steps to obstruct these investigations. Among other steps to

obstruct the investigations, STONE:

       a.      Made multiple false statements to HPSCI about his interactions regarding

               Organization 1, and falsely denied possessing records that contained evidence of

               these interactions; and

       b.      Attempted to persuade a witness to provide false testimony to and withhold

               pertinent information from the investigations.

                                  Other Relevant Individuals

9.     Person 1 was a political commentator who worked with an online media publication during

the 2016 U.S. presidential campaign. Person 1 spoke regularly with STONE throughout the

campaign, including about the release of stolen documents by Organization 1.

10.    Person 2 was a radio host who had known STONE for more than a decade. In testimony

before HPSCI on or about September 26, 2017, STONE described Person 2 (without naming him)

as an “intermediary,” “go-between,” and “mutual friend” to the head of Organization 1. In a

follow-up letter to HPSCI dated October 13, 2017, STONE identified Person 2 by name and

claimed Person 2 was the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”

                                          Background

             STONE’s Communications About Organization 1 During the Campaign

11.    By in or around June and July 2016, STONE informed senior Trump Campaign officials

that he had information indicating Organization 1 had documents whose release would be




                                               3
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 28 of 109



damaging to the Clinton Campaign. The head of Organization 1 was located at all relevant times

at the Ecuadorian Embassy in London, United Kingdom.

12.    After the July 22, 2016 release of stolen DNC emails by Organization 1, a senior Trump

Campaign official was directed to contact STONE about any additional releases and what other

damaging information Organization 1 had regarding the Clinton Campaign. STONE thereafter

told the Trump Campaign about potential future releases of damaging material by Organization 1.

13.    STONE also corresponded with associates about contacting Organization 1 in order to

obtain additional emails damaging to the Clinton Campaign.

       a.     On or about July 25, 2016, STONE sent an email to Person 1 with the subject line,

              “Get to [the head of Organization 1].” The body of the message read, “Get to [the

              head of Organization 1] [a]t Ecuadorian Embassy in London and get the pending

              [Organization 1] emails . . . they deal with Foundation, allegedly.” On or about the

              same day, Person 1 forwarded STONE’s email to an associate who lived in the

              United Kingdom and was a supporter of the Trump Campaign.

       b.     On or about July 31, 2016, STONE emailed Person 1 with the subject line, “Call

              me MON.” The body of the email read in part that Person 1’s associate in the

              United Kingdom “should see [the head of Organization 1].”

       c.     On or about August 2, 2016, Person 1 emailed STONE. Person 1 wrote that he was

              currently in Europe and planned to return in or around mid-August. Person 1 stated

              in part, “Word is friend in embassy plans 2 more dumps. One shortly after I’m

              back. 2nd in Oct. Impact planned to be very damaging.” The phrase “friend in

              embassy” referred to the head of Organization 1. Person 1 added in the same email,

              “Time to let more than [the Clinton Campaign chairman] to be exposed as in bed w



                                               4
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 29 of 109



              enemy if they are not ready to drop HRC. That appears to be the game hackers are

              now about. Would not hurt to start suggesting HRC old, memory bad, has stroke –

              neither he nor she well. I expect that much of next dump focus, setting stage for

              Foundation debacle.”

14.    Starting in early August 2016, after receiving the August 2, 2016 email from Person 1,

STONE made repeated statements about information he claimed to have learned from the head of

Organization 1.

       a.     On or about August 8, 2016, STONE attended a public event at which he stated, “I

              actually have communicated with [the head of Organization 1]. I believe the next

              tranche of his documents pertain to the Clinton Foundation, but there’s no telling

              what the October surprise may be.”

       b.     On or about August 12, 2016, STONE stated during an interview that he was “in

              communication with [the head of Organization 1]” but was “not at liberty to discuss

              what I have.”

       c.     On or about August 16, 2016, STONE stated during an interview that “it became

              known on this program that I have had some back-channel communication with

              [Organization 1] and [the head of Organization 1].” In a second interview on or

              about the same day, STONE stated that he “communicated with [the head of

              Organization 1]” and that they had a “mutual acquaintance who is a fine

              gentleman.”

       d.     On or about August 18, 2016, STONE stated during a television interview that he

              had communicated with the head of Organization 1 through an “intermediary,

              somebody who is a mutual friend.”



                                              5
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 30 of 109



       e.     On or about August 23, 2016, Person 2 asked STONE during a radio interview,

              “You’ve been in touch indirectly with [the head of Organization 1]. . . . Can you

              give us any kind of insight? Is there an October surprise happening?” STONE

              responded, “Well, first of all, I don’t want to intimate in any way that I control or

              have influence with [the head of Organization 1] because I do not. . . . We have a

              mutual friend, somebody we both trust and therefore I am a recipient of pretty good

              information.”

15.    Beginning on or about August 19, 2016, STONE exchanged written communications,

including by text message and email, with Person 2 about Organization 1 and what the head of

Organization 1 planned to do.

       a.     On or about August 19, 2016, Person 2 sent a text message to STONE that read in

              part, “I’m going to have [the head of Organization 1] on my show next Thursday.”

              On or about August 21, 2016, Person 2 sent another text message to STONE,

              writing in part, “I have [the head of Organization 1] on Thursday so I’m completely

              tied up on that day.”

       b.     On or about August 25, 2016, the head of Organization 1 was a guest on Person 2’s

              radio show for the first time. On or about August 26, 2016, Person 2 sent a text

              message to STONE that stated, “[the head of Organization 1] talk[ed] about you

              last night.” STONE asked what the head of Organization 1 said, to which Person 2

              responded, “He didn’t say anything bad we were talking about how the Press is

              trying to make it look like you and he are in cahoots.”

       c.     On or about August 27, 2016, Person 2 sent text messages to STONE that said, “We

              are working on a [head of Organization 1] radio show,” and that he (Person 2) was



                                               6
     Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 31 of 109



       “in charge” of the project. In a text message sent later that day, Person 2 added,

       “[The head of Organization 1] has kryptonite on Hillary.”

d.     On or about September 18, 2016, STONE sent a text message to Person 2 that said,

       “I am e-mailing u a request to pass on to [the head of Organization 1].” Person 2

       responded “Ok,” and added in a later text message, “[j]ust remember do not name

       me as your connection to [the head of Organization 1] you had one before that you

       referred to.”

              i.       On or about the same day, September 18, 2016, STONE emailed

                       Person 2 an article with allegations against then-candidate Clinton

                       related to her service as Secretary of State. STONE stated, “Please

                       ask [the head of Organization 1] for any State or HRC e-mail from

                       August 10 to August 30—particularly on August 20, 2011 that

                       mention [the subject of the article] or confirm this narrative.”

              ii.      On or about September 19, 2016, STONE texted Person 2 again,

                       writing, “Pass my message . . . to [the head of Organization 1].”

                       Person 2 responded, “I did.” On or about September 20, 2016,

                       Person 2 forwarded the request to a friend who was an attorney with

                       the ability to contact the head of Organization 1. Person 2 blind-

                       copied STONE on the forwarded email.

e.     On or about September 30, 2016, Person 2 sent STONE via text message a

       photograph of Person 2 standing outside the Ecuadorian Embassy in London where

       the head of Organization 1 was located.




                                         7
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 32 of 109



       f.     On or about October 1, 2016, which was a Saturday, Person 2 sent STONE text

              messages that stated, “big news Wednesday . . . now pretend u don’t know me . . .

              Hillary’s campaign will die this week.” In the days preceding these messages, the

              press had reported that the head of Organization 1 planned to make a public

              announcement on or about Tuesday, October 4, 2016, which was reported to be the

              ten-year anniversary of the founding of Organization 1.

       g.     On or about October 2, 2016, STONE emailed Person 2, with the subject line

              “WTF?,” a link to an article reporting that Organization 1 was canceling its “highly

              anticipated Tuesday announcement due to security concerns.” Person 2 responded

              to STONE, “head fake.”

       h.     On or about the same day, October 2, 2016, STONE texted Person 2 and asked,

              “Did [the head of Organization 1] back off.” On or about October 3, 2016, Person

              2 initially responded, “I can’t tal[k] about it.” After further exchanges with

              STONE, Person 2 said, “I think it[’]s on for tomorrow.” Person 2 added later that

              day, “Off the Record Hillary and her people are doing a full-court press they [sic]

              keep [the head of Organization 1] from making the next dump . . . That’s all I can

              tell you on this line . . . Please leave my name out of it.”

16.    In or around October 2016, STONE made statements about Organization 1’s future

releases, including statements similar to those that Person 2 made to him. For example:

       a.     On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

              Campaign, “Spoke to my friend in London last night. The payload is still coming.”

       b.     Also on or about October 3, 2016, STONE received an email from a reporter who

              had connections to a high-ranking Trump Campaign official that asked, “[the head



                                                8
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 33 of 109



                 of Organization 1] – what’s he got? Hope it’s good.” STONE responded in part,

                 “It is. I’d tell [the high-ranking Trump Campaign official] but he doesn’t call me

                 back.”

       c.        On or about October 4, 2016, the head of Organization 1 held a press conference

                 but did not release any new materials pertaining to the Clinton Campaign. Shortly

                 afterwards, STONE received an email from the high-ranking Trump Campaign

                 official asking about the status of future releases by Organization 1. STONE

                 answered that the head of Organization 1 had a “[s]erious security concern” but that

                 Organization 1 would release “a load every week going forward.”

       d.        Later that day, on or about October 4, 2016, the supporter involved with the Trump

                 Campaign asked STONE via text message if he had “hear[d] anymore from

                 London.” STONE replied, “Yes - want to talk on a secure line - got Whatsapp?”

                 STONE subsequently told the supporter that more material would be released and

                 that it would be damaging to the Clinton Campaign.

17.    On or about October 7, 2016, Organization 1 released the first set of emails stolen from the

Clinton Campaign chairman. Shortly after Organization 1’s release, an associate of the high-

ranking Trump Campaign official sent a text message to STONE that read “well done.” In

subsequent conversations with senior Trump Campaign officials, STONE claimed credit for

having correctly predicted the October 7, 2016 release.

                                         The Investigations

18.    In or around 2017, government officials publicly disclosed investigations into Russian

interference in the 2016 U.S. presidential election and possible links to individuals associated with

the campaigns.



                                                  9
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 34 of 109



       a.     On or about January 13, 2017, the chairman and vice chairman of SSCI announced

              the committee would conduct an inquiry that would investigate, among other

              things, any intelligence regarding links between Russia and individuals associated

              with political campaigns, as well as Russian cyber activity and other “active

              measures” directed against the United States in connection with the 2016 election.

       b.     On or about January 25, 2017, the chairman and ranking member of HPSCI

              announced that HPSCI had been conducting an inquiry similar to SSCI’s.

       c.     On or about March 20, 2017, the then-director of the FBI testified at a HPSCI

              hearing and publicly disclosed that the FBI was investigating Russian interference

              in the 2016 election and possible links and coordination between the Trump

              Campaign and the Russian government.

       d.     By in or around August 2017, news reports stated that a federal grand jury had

              opened an investigation into matters relating to Russian government efforts to

              interfere in the 2016 election, including possible links and coordination between

              the Trump Campaign and the Russian government.

                            STONE’s False Testimony to HPSCI

19.    In or around May 2017, HPSCI sent a letter requesting that STONE voluntarily appear

before the committee and produce:

              Any documents, records, electronically stored information
              including e-mail, communication, recordings, data and tangible
              things (including, but not limited to, graphs, charts, photographs,
              images and other documents) regardless of form, other than those
              widely available (e.g., newspaper articles) that reasonably could
              lead to the discovery of any facts within the investigation’s publicly-
              announced parameters.

On or about May 22, 2017, STONE caused a letter to be submitted to HPSCI stating that “Mr.



                                                10
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 35 of 109



Stone has no documents, records, or electronically stored information, regardless of form, other

than those widely available that reasonably could lead to the discovery of any facts within the

investigation’s publicly-announced parameters.”

20.    On or about September 26, 2017, STONE testified before HPSCI in Washington, D.C. as

part of the committee’s ongoing investigation. In his opening statement, STONE stated, “These

hearings are largely based on a yet unproven allegation that the Russian state is responsible for the

hacking of the DNC and [the Clinton Campaign chairman] and the transfer of that information to

[Organization 1].” STONE further stated that “[m]embers of this Committee” had made certain

“assertions against me which must be rebutted here today,” which included “[t]he charge that I

knew in advance about, and predicted, the hacking of Clinton campaign chairman[’s] email, [and]

that I had advanced knowledge of the source or actual content of the [Organization 1] disclosures

regarding Hillary Clinton.”

21.    In the course of his HPSCI testimony, STONE made deliberately false and misleading

statements to the committee concerning, among other things, his possession of documents

pertinent to HPSCI’s investigation; the source for his early August 2016 statements about

Organization 1; requests he made for information from the head of Organization 1; his

communications with his identified intermediary; and his communications with the Trump

Campaign about Organization 1.

  STONE’s False and Misleading Testimony About His Possession of Documents Pertinent to
                                 HPSCI’s Investigation

22.    During his HPSCI testimony, STONE was asked, “So you have no emails to anyone

concerning the allegations of hacked documents . . . or any discussions you have had with third

parties about [the head of Organization 1]? You have no emails, no texts, no documents

whatsoever, any kind of that nature?” STONE falsely and misleadingly answered, “That is correct.


                                                 11
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 36 of 109



Not to my knowledge.”

23.    In truth and in fact, STONE had sent and received numerous emails and text messages

during the 2016 campaign in which he discussed Organization 1, its head, and its possession of

hacked emails. At the time of his false testimony, STONE was still in possession of many of these

emails and text messages, including:

       a.     The email from STONE to Person 1 on or about July 25, 2016 that read in part,

              “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and get

              the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”;

       b.     The email from STONE to Person 1 on or about July 31, 2016 that said an associate

              of Person 1 “should see [the head of Organization 1].”;

       c.     The email from Person 1 to STONE on or about August 2, 2016 that stated in part,

              “Word is friend in embassy plans 2 more dumps. One shortly after I’m back. 2nd

              in Oct. Impact planned to be very damaging.”;

       d.     Dozens of text messages and emails, beginning on or about August 19, 2016 and

              continuing through the election, between STONE and Person 2 in which they

              discussed Organization 1 and the head of Organization 1;

       e.     The email from STONE on or about October 3, 2016 to the supporter involved with

              the Trump Campaign, which read in part, “Spoke to my friend in London last night.

              The payload is still coming.”; and

       f.     The emails on or about October 4, 2016 between STONE and the high-ranking

              member of the Trump Campaign, including STONE’s statement that Organization

              1 would release “a load every week going forward.”




                                               12
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 37 of 109



24.    By falsely claiming that he had no emails or text messages in his possession that referred

to the head of Organization 1, STONE avoided providing a basis for HPSCI to subpoena records

in his possession that could have shown that other aspects of his testimony were false and

misleading.

      STONE’s False and Misleading Testimony About His Early August 2016 Statements

25.    During his HPSCI testimony on or about September 26, 2017, STONE was asked to

explain his statements in early August 2016 about being in contact with the head of Organization 1.

STONE was specifically asked about his statement on or about August 8, 2016 that “I’ve actually

communicated with [the head of Organization 1],” as well as his statement on or about August 12,

2016 that he was “in communication with [the head of Organization 1]” but was “not at liberty to

discuss what I have.”

26.    STONE responded that his public references to having a means of contacting Organization

1 referred exclusively to his contact with a journalist, who STONE described as a “go-between, as

an intermediary, as a mutual friend” of the head of Organization 1. STONE stated that he asked

this individual, his intermediary, “to confirm what [the head of Organization 1] ha[d] tweeted,

himself, on July 21st, that he ha[d] the Clinton emails and that he [would] publish them.” STONE

further stated that the intermediary “was someone I knew had interviewed [the head of

Organization 1]. And I merely wanted confirmation of what he had tweeted on the 21st.” STONE

declined to tell HPSCI the name of this “intermediary” but provided a description in his testimony

that was consistent with Person 2.

27.    On or about October 13, 2017, STONE caused a letter to be submitted to HPSCI that

identified Person 2 by name as the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”



                                                13
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 38 of 109



28.    STONE’s explanation of his August 2016 statements about communicating with the head

of Organization 1 was false and misleading. In truth and in fact, the first time Person 2 interviewed

the head of Organization 1 was on or about August 25, 2016, after STONE made his August 8 and

August 12, 2016 public statements. Similarly, at the time STONE made his August 2016

statements, STONE had directed Person 1—not Person 2—to contact the head of Organization 1.

And Person 1—not Person 2—had told STONE in advance of STONE’s August 8 and August 12,

2016 public statements that “[w]ord is friend in embassy plans 2 more dumps,” including one in

October. At no time did STONE identify Person 1 to HPSCI as another individual STONE

contacted to serve as a “go-between,” “intermediary,” or other source of information from

Organization 1. STONE also never disclosed his exchanges with Person 1 when answering

HPSCI’s questioning about STONE’s August 8 and August 12, 2016 statements.

 STONE’s False and Misleading Testimony About Requests He Made for Information from the
                                 Head of Organization 1

29.    During his HPSCI testimony, STONE was asked, “[W]hat was the extent of the

communication with [the intermediary]?” STONE replied, “I asked him to confirm . . . that the

tweet of [the head of Organization 1] of the 21st was accurate, that they did in fact have . . . Hillary

Clinton emails and that they would release them.” STONE was then asked, “Did you ask [the

intermediary] to communicate anything else to [the head of Organization 1]?” STONE falsely and

misleadingly responded, “I did not.” STONE was then asked, “Did you ask [the intermediary] to

do anything on your own behalf?” STONE falsely and misleadingly responded, “I did not.”

30.    In truth and in fact, STONE directed both Person 1 and Person 2 to pass on requests to the

head of Organization 1 for documents that STONE believed would be damaging to the Clinton

Campaign. For example:

       a.      As described above, on or about July 25, 2016, STONE sent Person 1 an email that


                                                  14
             Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 39 of 109



                  read, “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and

                  get the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”

        b.        On or about September 18, 2016, STONE sent a text message to Person 2 that said,

                  “I am e-mailing u a request to pass on to [the head of Organization 1],” and then

                  emailed Person 2 an article with allegations against then-candidate Clinton related

                  to her service as Secretary of State. STONE added, “Please ask [the head of

                  Organization 1] for any State or HRC e-mail from August 10 to August 30—

                  particularly on August 20, 2011 that mention [the subject of the article] or confirm

                  this narrative.”

        c.        On or about September 19, 2016, STONE texted Person 2 again, writing “Pass my

                  message . . . to [the head of Organization 1].” Person 2 responded, “I did,” and the

                  next day Person 2, on an email blind-copied to STONE, forwarded the request to

                  an attorney who had the ability to contact the head of Organization 1.

      STONE’s False and Misleading Testimony About Communications with His Identified
                                        Intermediary

31.     During his HPSCI testimony, STONE was asked repeatedly about his communications

with the person he identified as his intermediary. STONE falsely and misleadingly stated that he

had never communicated with his intermediary in writing in any way. During one exchange,

STONE falsely and misleadingly claimed only to have spoken with the intermediary

telephonically:

                  Q:      [H]ow did you communicate with the intermediary?
                  A:      Over the phone.
                  Q:      And did you have any other means of communicating with
                          the intermediary?
                  A:      No.
                  Q:      No text messages, no – none of the list, right?

                                                   15
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 40 of 109



               A:     No.

Later during his testimony, STONE again falsely denied ever communicating with his

intermediary in writing:

               Q:     So you never communicated with your intermediary in
                      writing in any way?
               A:     No.
               Q:     Never emailed him or texted him?
               A:     He’s not an email guy.
               Q:     So all your conversations with him were in person or over
                      the phone.
               A:     Correct.

32.    In truth and in fact, as described above, STONE and Person 2 (who STONE identified to

HPSCI as his intermediary) engaged in frequent written communication by email and text

message. STONE also engaged in frequent written communication by email and text message

with Person 1, who also provided STONE with information regarding Organization 1.

33.    Written communications between STONE and Person 1 and between STONE and Person 2

continued through STONE’s HPSCI testimony. Indeed, on or about September 26, 2017—the day

that STONE testified before HPSCI and denied having ever sent or received emails or text

messages from Person 2—STONE and Person 2 exchanged over thirty text messages.

34.    Certain electronic messages between STONE and Person 1 and between STONE and

Person 2 would have been material to HPSCI. For example:

       a.      In or around July 2016, STONE emailed Person 1 to “get to” the head of

               Organization 1 and obtain the pending emails.

       b.      In or around September 2016, STONE sent messages directing Person 2 to pass a

               request to the head of Organization 1.

       c.      On or about January 6, 2017, Person 2 sent STONE an email that had the subject


                                               16
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 41 of 109



              line “Back channel bs.” In the email, Person 2 wrote, “Well I have put together

              timelines[] and you [] said you have a back-channel way back a month before I had

              [the head of Organization 1] on my show . . . I have never had a conversation with

              [the head of Organization 1] other than my radio show . . . I have pieced it all

              together . . . so you may as well tell the truth that you had no back-channel or there’s

              the guy you were talking about early August.”

 STONE’s False and Misleading Testimony About Communications with the Trump Campaign

35.    During his HPSCI testimony, STONE was asked, “did you discuss your conversations with

the intermediary with anyone involved in the Trump campaign?” STONE falsely and misleadingly

answered, “I did not.” In truth and in fact, and as described above, STONE spoke to multiple

individuals involved in the Trump Campaign about what he claimed to have learned from his

intermediary to Organization 1, including the following:

       a.     On multiple occasions, STONE told senior Trump Campaign officials about

              materials possessed by Organization 1 and the timing of future releases.

       b.     On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

              Campaign, “Spoke to my friend in London last night. The payload is still coming.”

       c.     On or about October 4, 2016, STONE told a high-ranking Trump Campaign official

              that the head of Organization 1 had a “[s]erious security concern” but would release

              “a load every week going forward.”

  Attempts to Prevent Person 2 from Contradicting STONE’s False Statements to HPSCI

36.    On or about October 19, 2017, STONE sent Person 2 an excerpt of his letter to HPSCI that

identified Person 2 as his “intermediary” to Organization 1. STONE urged Person 2, if asked by

HPSCI, to falsely confirm what STONE had previously testified to, including that it was Person 2



                                                17
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 42 of 109



who provided STONE with the basis for STONE’s early August 2016 statements about contact

with Organization 1. Person 2 repeatedly told STONE that his testimony was false and told him

to correct his testimony to HPSCI. STONE did not do so. STONE then engaged in a prolonged

effort to prevent Person 2 from contradicting STONE’s false statements to HPSCI.

37.    In or around November 2017, Person 2 received a request from HPSCI to testify voluntarily

before the committee. After being contacted by HPSCI, Person 2 spoke and texted repeatedly with

STONE. In these discussions, STONE sought to have Person 2 testify falsely either that Person 2

was the identified intermediary or that Person 2 could not remember what he had told STONE.

Alternatively, STONE sought to have Person 2 invoke his Fifth Amendment right against self-

incrimination. For example:

       a.     On or about November 19, 2017, in a text message to STONE, Person 2 said that

              his lawyer wanted to see him (Person 2). STONE responded, “‘Stonewall it. Plead

              the fifth. Anything to save the plan’ . . . Richard Nixon.” On or about November

              20, 2017, Person 2 informed HPSCI that he declined HPSCI’s request for a

              voluntary interview.

       b.     On or about November 21, 2017, Person 2 texted STONE, “I was told that the house

              committee lawyer told my lawyer that I will be getting a subpoena.” STONE

              responded, “That was the point at which your lawyers should have told them you

              would assert your 5th Amendment rights if compelled to appear.”

       c.     On or about November 28, 2017, Person 2 received a subpoena compelling his

              testimony before HPSCI. Person 2 informed STONE of the subpoena.

       d.     On or about November 30, 2017, STONE asked Person 1 to write publicly about

              Person 2. Person 1 responded, “Are you sure you want to make something out of



                                              18
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 43 of 109



              this now? Why not wait to see what [Person 2] does. You may be defending

              yourself too much—raising new questions that will fuel new inquiries. This may

              be a time to say less, not more.” STONE responded by telling Person 1 that

              Person 2 “will take the 5th—but let’s hold a day.”

       e.     On multiple occasions, including on or about December 1, 2017, STONE told

              Person 2 that Person 2 should do a “Frank Pentangeli” before HPSCI in order to

              avoid contradicting STONE’s testimony. Frank Pentangeli is a character in the film

              The Godfather: Part II, which both STONE and Person 2 had discussed, who

              testifies before a congressional committee and in that testimony claims not to know

              critical information that he does in fact know.

       f.     On or about December 1, 2017, STONE texted Person 2, “And if you turned over

              anything to the FBI you’re a fool.” Later that day, Person 2 texted STONE, “You

              need to amend your testimony before I testify on the 15th.” STONE responded, “If

              you testify you’re a fool. Because of tromp I could never get away with a certain

              [sic] my Fifth Amendment rights but you can. I guarantee you you are the one who

              gets indicted for perjury if you’re stupid enough to testify.”

38.    On or about December 12, 2017, Person 2 informed HPSCI that he intended to assert his

Fifth Amendment privilege against self-incrimination if required to appear by subpoena. Person 2

invoked his Fifth Amendment privilege in part to avoid providing evidence that would show

STONE’s previous testimony to Congress was false.

39.    Following Person 2’s invocation of his Fifth Amendment privilege not to testify before

HPSCI, STONE and Person 2 continued to have discussions about the various investigations into

Russian interference in the 2016 election and what information Person 2 would provide to



                                                19
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 44 of 109



investigators.   During these conversations, STONE repeatedly made statements intended to

prevent Person 2 from cooperating with the investigations. For example:

       a.        On or about December 24, 2017, Person 2 texted STONE, “I met [the head of

                 Organization 1] for f[i]rst time this yea[r] sept 7 . . . docs prove that. . . . You should

                 be honest w fbi . . . there was no back channel . . . be honest.” STONE replied

                 approximately two minutes later, “I’m not talking to the FBI and if your smart you

                 won’t either.”

       b.        On or about April 9, 2018, STONE wrote in an email to Person 2, “You are a rat.

                 A stoolie. You backstab your friends-run your mouth my lawyers are dying Rip

                 you to shreds.” STONE also said he would “take that dog away from you,”

                 referring to Person 2’s dog. On or about the same day, STONE wrote to Person 2,

                 “I am so ready. Let’s get it on. Prepare to die [expletive].”

       c.        On or about May 21, 2018, Person 2 wrote in an email to STONE, “You should

                 have just been honest with the house Intel committee . . . you’ve opened yourself

                 up to perjury charges like an idiot.” STONE responded, “You are so full of

                 [expletive]. You got nothing. Keep running your mouth and I’ll file a bar

                 complaint against your friend [the attorney who had the ability to contact the head

                 of Organization 1].”




                                                     20
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 45 of 109



                                        COUNT ONE
                                  (Obstruction of Proceeding)

40.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

41.     From in or around May 2017 through at least December 2017, within the District of

Columbia and elsewhere, the defendant ROGER JASON STONE, JR., corruptly influenced,

obstructed, impeded, and endeavored to influence, obstruct, and impede the due and proper

exercise of the power of inquiry under which any inquiry and investigation is being had by either

House, and any committee of either House and any joint committee of the Congress, to wit:

STONE testified falsely and misleadingly at a HPSCI hearing in or around September 2017;

STONE failed to turn over and lied about the existence of responsive records to HPSCI’s requests

about documents; STONE submitted and caused to be submitted a letter to HPSCI falsely and

misleadingly describing communications with Person 2; and STONE attempted to have Person 2

testify falsely before HPSCI or prevent him from testifying.

        All in violation of Title 18, United States Code, Sections 1505 and 2.




                                                21
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 46 of 109



                                 COUNTS TWO THROUGH SIX
                                     (False Statements)

42.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

43.     On or about September 26, 2017, within the District of Columbia and elsewhere, in a matter

within the jurisdiction of the legislative branch of the Government of the United States, the

defendant ROGER JASON STONE, JR., knowingly and willfully made and caused to be made

materially false, fictitious, and fraudulent statements and representations, to wit:

                       Count                                       False Statement

                             2                      STONE testified falsely that he did not have
                                                    emails with third parties about the head of
                                                    Organization 1, and that he did not have any
                                                    documents, emails, or text messages that refer
                                                    to the head of Organization 1.

                             3                      STONE testified falsely that his August 2016
                                                    references to being in contact with the head of
                                                    Organization     1    were     references    to
                                                    communications with a single “go-between,”
                                                    “mutual friend,” and “intermediary,” who
                                                    STONE identified as Person 2.

                             4                      STONE testified falsely that he did not ask the
                                                    person he referred to as his “go-between,”
                                                    “mutual friend,” and “intermediary,” to
                                                    communicate anything to the head of
                                                    Organization 1 and did not ask the
                                                    intermediary to do anything on STONE’s
                                                    behalf.

                             5                      STONE testified falsely that he and the person
                                                    he referred to as his “go-between,” “mutual
                                                    friend,” and “intermediary” did not
                                                    communicate via text message or email about
                                                    Organization 1.

                             6                      STONE testified falsely that he had never
                                                    discussed his conversations with the person he
                                                    referred to as his “go-between,” “mutual

                                                 22
            Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 47 of 109



                       Count                                      False Statement

                                                   friend,” and “intermediary” with anyone
                                                   involved in the Trump Campaign.


        All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.




                                        COUNT SEVEN
                                      (Witness Tampering)

44.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

45.     Between in or around September 2017 and present, within the District of Columbia and

elsewhere, the defendant ROGER JASON STONE, JR., knowingly and intentionally corruptly

persuaded and attempted to corruptly persuade another person, to wit: Person 2, with intent to

influence, delay, and prevent the testimony of any person in an official proceeding.

        All in violation of Title 18, United States Code, Section 1512(b)(1).




                                                     ________________________
                                                     Robert S. Mueller, III
                                                     Special Counsel
                                                     U.S. Department of Justice


A TRUE BILL:



________________________
Foreperson




                                                23
          Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 48 of 109



Date: January 24, 2019




                                      24
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 49 of 109




          EXHIBIT 2
             Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 50 of 109



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

                   MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF

          Movant Dr. Jerome Corsi (“Dr. Corsi”) through counsel, hereby moves this Court for

leave to file an amici curiae brief in support of entry of an order pursuant to Local Criminal Rule

57.7(c), or colloquially, a “gag order.”

          Dr. Corsi’s amicus brief, attached hereto as Exhibit 1, sets forth the compelling reasons

why a “gag order” is necessary in this case, as he is named as Person 1, a material witness, in

Defendant Roger Stone’s (“Defendant Stone”) indictment. Defendant Stone has engaged in a

public relations campaign to defame, smear, intimidate and threaten both Dr. Corsi and his

counsel, Mr. Larry Klayman, which is the same conduct that he was indicted for in the first

place. Because Defendant Stone’s defamation, witness tampering, intimidation, and threats with

regard to Dr. Corsi and his counsel Mr. Klayman are not technically part of this criminal

prosecution, Dr. Corsi’s interests and position are not adequately represented by any party. Dr.

Corsi’s amicus brief will aid this Court in ruling upon the entry of an order pursuant to LCrR

57.7(c)

          The United States has taken no position with regard to filing of an amicus brief, and

                                                  1
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 51 of 109



counsel for Defendant Stone has not substantively responded to Dr. Corsi’s request for consent.


Dated: February 8, 2019                             Respectfully submitted,


                                                    /s/ Larry Klayman   ____
                                                    Larry Klayman, Esq.
                                                    KLAYMAN LAW GROUP, PA
                                                    D.C. Bar No:
                                                    2020 Pennsylvania Ave NW #800
                                                    Washington, DC 20006
                                                    Email: leklayman@gmail.com
                                                    Tel: 310-595-0800


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically and served through the court’s ECF system to all counsel of record or parties on
February 8, 2019

                                                    /s/ Larry Klayman
                                                    Larry Klayman, Esq.




                                               2
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 52 of 109




[SUB]EXHIBIT 1
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 53 of 109



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

                      AMICI CURIAE BRIEF OF DR. JEROME CORSI

       Under Local Criminal Rule 57.7(b)(1):

       [i]t is the duty of the lawyer or law firm not to release or authorize the release of
       information or opinion which a reasonable person would expect to be
       disseminated by means of public communication, in connection with pending or
       imminent criminal litigation with which the lawyer or the law firm is associated,
       if there is a reasonable likelihood that such dissemination will interfere with a fair
       trial or otherwise prejudice the due administration of justice.

Furthermore, LCrR 57.7(c), which offers additional specific guidance with regard to highly

publicized cases - which this instant case certainly qualifies as – grants the Court with authority

to issue a “special order governing such matters as extrajudicial statements by parties, witnesses

and attorneys likely to interfere with the rights of the accused to a fair trial by an impartial jury.”

As set forth in Gentile v. State Bar of Nevada, 501 U.S. 1030, 1075 (1991):

       The limitations are aimed at two principal evils: (1) comments that are likely to
       influence the actual outcome of the trial, and (2) comments that are likely to
       prejudice the jury venire, even if an untainted panel can ultimately be found. Few,
       if any, interests under the Constitution are more fundamental than the right to a
       fair trial by “impartial” jurors, and an outcome affected by extrajudicial
       statements would violate that fundamental right.

       Here, Defendant Roger Stone (“Defendant Stone”) has already begun a public relations

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           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 54 of 109



campaign meant specifically to influence the outcome of his upcoming trial and which are meant

to prejudice the jury venire. Defendant Stone is doing so by engaging in witness tampering,

defamation, and intimidation and coercion with regard to Dr. Corsi, who is named as Person 1 in

Defendant Stone’s indictment. As such, Dr. Corsi will likely subpoenaed to be called as a

material witness in Defendant Stone’s upcoming trial. Again he is Person 1 in the Mueller

Indictment.

       Defendant Stone is attempting to smear, defame, and discredit, tamper and threaten Dr.

Corsi so that when Dr. Corsi is called as a witness, the jurors will have a false impression of Dr.

Corsi as a liar, perjurer, and alcoholic. This would, obviously, improperly and unethically benefit

Defendant Stone. In fact, Defendant Stone’s targeted efforts to defame, coerce, intimidate and

threaten Dr. Corsi have resulted in a lawsuit filed in the U.S. District Court for the District of

Columbia, which is attached hereto as Exhibit A and incorporated by reference.

       Should this Court have any doubt as to Defendant Stone’s improper motivations and

already implemented and continuing designs to taint the jury venire, the content and article

written by Sara Murray and Sam Fossum titled, Roger Stone, facing gag order, launches

counterattack, should put any such doubts to bed. Exhibit B. It is only one of many such analyses

and accounts. It is clear that Defendant Stone’s strategy will be to use the media and publicity to

argue his case and to try to get public sentiment on his side, as well as to tamper with witnesses

like Dr. Corsi, which is exactly the type of conduct that LCrR 57.7 was meant to preclude.

       Accordingly, Movant Dr. Corsi respectfully requests that this Court issue an order

pursuant to LCrR 57.7(c) ordering Defendant Stone and his counsel from making statements to

the media or in public settings that pose a substantial likelihood of material prejudice to this case

and which in the context of Stone himself and in their ferocity also amount to witness tampering
                                                 2
           Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 55 of 109



and obstruction of justice. See Exbibit A – Corsi Complaint.

Dated: February 8, 2019                             Respectfully submitted,


                                                    /s/ Larry Klayman   ____
                                                    Larry Klayman, Esq.
                                                    KLAYMAN LAW GROUP, PA
                                                    D.C. Bar No: 334581
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                                               3
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 56 of 109




[SUB]EXHIBIT A

   See
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 57 of 109




          EXHIBIT B
2/8/2019                                      RogerDocument
                             Case 1:19-cv-00656    Stone, facing gag1
                                                                    order,Filed
                                                                           launches counterattack - CNNPolitics
                                                                                  03/07/19          Page 58 of 109


     Roger Stone, facing gag order, launches
  counterattack
  By Sara Murray and Sam Fossum, CNN
  Updated 6:30 PM ET, Thu February 7, 2019


  Washington (CNN) — In the days since a federal judge warned Roger Stone that he could soon face a gag order,
  Stone has peddled conspiracy theories, claimed he can't get a fair trial and criticized the judge.

  "This is a lynching. This is a legal lynching of me," Stone said in a recent interview on the fringe right-wing website
  Infowars.

  Stone was arrested last month in a pre-dawn raid and charged with obstruction of justice, making false statements
  and witness tampering as part of special counsel Robert Mueller's Russia investigation. On Friday, federal
  prosecutors and Stone's legal team are due to submit briefs on the merits of a gag order.

  But rather than toning down his rhetoric, Stone appears to be abiding by the principles he espouses in his books.
  For instance, Stone's Rule #81: "Admit Nothing; Deny Everything; Launch Counterattack."

  It's a dubious legal strategy.

  "I would say that it's a terrible idea for Stone to be doing this," said CNN legal analyst Shan Wu. "I can't imagine a
  worse idea."

  Judge Amy Berman Jackson informed Stone last week that she was considering a gag order. She was quick to
  put similar restrictions on former Trump campaign chairman Paul Manafort's case, which she is also presiding over
  in Washington. Jackson, an appointee of President Barack Obama, said she was cognizant of Stone's First
  Amendment right to free speech, but she wanted to protect his right to a fair trial and ensure it was possible to
  select an unbiased jury.

  Stone's response, delivered via an Instagram post this week: "I will continue to defend myself unless an Obama
  appointed judge decides to suspend my ﬁrst amendment rights." In another post, Stone exclaimed, "Fair Trial in
  DC? Impossible."

  Stone, in his public diatribes, has claimed he is being targeted because he works for Infowars and supported
  Trump. And he has continued his long tradition of hyping fact-free conspiracy theories.

  In one Instagram post, Stone is shaking hands William Binney, a former National Security Agency o cial who has
  turned into a vocal critic of the agency. "Bill Binney explained to me why the forensic evidence shows the DNC was
  never hacked by anyone including the Russians," Stone wrote.

  US intelligence agencies have concluded Russian intelligence hacked the DNC and other top Democrats, and used
  platforms like WikiLeaks to disseminate the stolen material.

  Stone concluded his post with a series of hashtags including "#sethrich."

  Seth Rich was a Democratic National Committee sta er who was fatally shot in Washington in 2016. Police said
  evidence indicates Rich was the victim of a robbery gone wrong. But far-right activists and news organizations
  spread a conspiracy theory -- with no evidence -- that Rich was killed for leaking a trove of DNC emails to
  WikiLeaks.

  Both Fox News and the Washington Times ended up retracting stories based on the murder-as-leaking-retribution
  conspiracy plot, but the lore has lived on, to the devastation of Rich's family.
https://www.cnn.com/2019/02/07/politics/roger-stone-gag-order-counterattack/index.html                                      1/3
2/8/2019                                      RogerDocument
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                                                                           launches counterattack - CNNPolitics
                                                                                  03/07/19          Page 59 of 109
  As for Stone, he recently settled a lawsuit unrelated to the Mueller probe in which he admitted to making false
  statements on Infowars about a Chinese businessman and apologized for his commentary.

  Stone's attorney and Mueller's o ce declined to comment.

  Prior legal woes aside, Stone's eagerness to discuss his case publicly -- and in colorful fashion -- could make the
  judge more inclined to put a gag order on the case.

  Stone and his attorneys have vowed to ﬁght any such e ort and are expected to make the case that Stone's
  livelihood depends on his ability to speak freely.

  "I make a living writing and speaking," Stone argued in a recent Infowars appearance. "So they would be depriving
  me of making a living if I am entirely gagged."

  Jackson appears to have anticipated that defense. In court last Friday, the judge said she was only considering
  limiting Stone's ability to talk about the case.

  " e would still be free to discuss foreign relations, immigration or Tom Brady," Jackson said.

  If she does crack down on public comments on the case, Stone's legal team could also appeal the move. Last
  year, Stone added First Amendment and constitutional law expert Bruce Rogow to his legal team.


                                                        rogerjs…
                                                        40.2k followers




                                              View More on Instagram

  Stone may have a solid legal premise for an appeal, Wu said, although most defendants consider it a risky move.

  "Most defendants don't want to do that because they don't want to run afoul of the judge," Wu said. " e doesn't
  care."


https://www.cnn.com/2019/02/07/politics/roger-stone-gag-order-counterattack/index.html                                  2/3
2/8/2019                                      RogerDocument
                             Case 1:19-cv-00656    Stone, facing gag1
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                                                                           launches counterattack - CNNPolitics
                                                                                  03/07/19          Page 60 of 109
  Indeed, Stone is still racking up appearances and using nearly all of them to hammer the tactics used in the pre-
  dawn raid at his Florida home.

  "This was a show of force, this was something you would expect from Nazi ermany or Soviet Russia. It was
  chilling," Stone told Infowars.

  Stone has also compared the law enforcement presence the morning of his arrest to the forces deployed against
  drug lord Joaqu n uzm n, known as "El Chapo," and Osama bin Laden, the former al aeda leader who was
  killed by US Special Forces in a 2011 raid.

  Stone's vocal complaints even sparked a response from ex-convict and former football star O.J. Simpson, who
  drew on his own experience with FBI raids, according to a video posted on celebrity news website TM .

  "The FBI can be wrong," Simpson said, "But to try to compare to El Chapo and Bin Laden? ey man, Bin Laden
  was carried out in a bag, not walked out in handcu s."

  Simpson's parting words for Stone: "Man up. Stop crying."




https://www.cnn.com/2019/02/07/politics/roger-stone-gag-order-counterattack/index.html                                3/3
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 61 of 109




          EXHIBIT 3
               Case1:19-cv-00656
              Case  1:19-cv-00324 Document
                                   Document11 Filed
                                               Filed03/07/19
                                                     02/07/19 Page
                                                               Page62
                                                                    1 of 12
                                                                         109



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DR. JEROME CORSI, Individually
Denville, NJ, 07834

                         Plaintiff

                 v.                                     Case Number:

ROGER STONE, Individually                               COMPLAINT
4300 Bayview Drive
Fort Lauderdale, FL, 33308


                        Defendant.


                                         INTRODUCTION

        Plaintiff, DR. JEROME CORSI (“Plaintiff” or “Corsi”) hereby files this action against

ROGER STONE (“Defendant Stone”) for Defamation, Intentional Infliction of Emotional

Distress and Assault

                                     JURISDICTION AND VENUE

        1.!      This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

        2.!      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), (3) in that a substantial part

of the events or omissions giving rise to Plaintiff Corsi’s claims arose herein.

                                           THE PARTIES

        3.!      Plaintiff, Dr. Jerome Corsi, is an author and political commentator who publishes

works in this judicial district and nationwide. Plaintiff Corsi is a citizen of New Jersey.

        4.!      Defendant, Roger Stone, is an individual and a citizen of Florida and a resident of




                                                    1
               Case1:19-cv-00656
              Case  1:19-cv-00324 Document
                                   Document11 Filed
                                               Filed03/07/19
                                                     02/07/19 Page
                                                               Page63
                                                                    2 of 12
                                                                         109



Fort Lauderdale, Florida. Defendant Stone was recently indicted by Special Counsel Robert Mueller

as part of the alleged “Russian Collusion’ investigation. His address is 4300 Bayview Drive, Fort

Lauderdale, FL, 33308

                                        GENERAL ALLEGATIONS

        5.!        Defendant Stone was recently indicted by Special Counsel Robert Mueller

(“Mueller Indictment”) as part of his “Russian Collusion” investigation for the alleged crimes of

perjury, witness tampering and obstruction of justice. The indictment comprises seven different

felony counts. See Exhibit 1 – Mueller Indictment. Importantly, Plaintiff Corsi was not accused

of any wrongdoing or illegality in the Mueller Indictment, in which he named as Person 1, a

material witness to the alleged crimes committed by Stone.

        6.!        Specifically, the seven count Mueller Indictment against Defendant Stone

involves alleged lying under oath - that is, perjury - witness tampering and obstruction of justice

by threatening to kill a material witness, Randy Credico (“Credico”) and his dog if Credico did

not lie to government authorities concerning his involvement with Roger Stone. Credico is

Person 2 in the Mueller Indictment of Defendant Stone. Id. Person 1 in this Mueller Indictment is

Plaintiff Corsi.

        7.!        Even before Defendant Stone was indicted, he began a public relations campaign

in this district, nationally and internationally to smear, intimidate and threaten Plaintiff Corsi, a

material witness in the “Russian Collusion” investigation. Plaintiff Corsi is listed as Person 1 in

the Mueller Indictment and was not indicted along with Defendant Stone, as he testified

truthfully to the grand jury and in interviews.

        8.!        To the contrary, Plaintiff Corsi has never defamed or disparaged Defendant Stone.

        9.!        Defendant Stone knew that he was going to be indicted, and therefore began this




                                                   2
            Case1:19-cv-00656
           Case  1:19-cv-00324 Document
                                Document11 Filed
                                            Filed03/07/19
                                                  02/07/19 Page
                                                            Page64
                                                                 3 of 12
                                                                      109



public relations campaign to smear, defame, intimidate and threaten Plaintiff Corsi, even before

his actual indictment on January 25, 2019, in order to try to influence public opinion and Special

Counsel Robert Mueller – by trying to attribute guilt to Plaintiff Corsi and not him - as well as to

try to raise money for his legal defense. This pattern and practice of defaming, intimidating and

threatening Plaintiff Corsi, and his legal counsel, is ongoing, so Plaintiff Corsi reserves the right

to amend this Complaint.

       10.!    Defendant Stone likes to portray himself as Mafia, frequently making reference to

Mafia figures who he admires, as well as other unsavory types who have been alleged to have

engaged in unethical and/or illegal behavior. He frequently makes reference to his heroes being

Hyman Roth in the ‘Godfather,” who was the movie version of Meyer Lansky, and Roy Cohn,

not to mention, Richard Nixon, for his role in Watergate. In this regard, after Stone was indicted

he held a press conference on the courthouse steps of the federal courthouse in Ft. Lauderdale,

where he was booked, with his arms defiantly in the air in the “victory’ pose used by Nixon after

he resigned in disgrace as a result of the Watergate scandal. At the time, Stone had been

employed by a Nixon group called CREEP, or the Committee to Reelect the President.

Defendant Stone even has a large tattoo of Richard Nixon affixed to his back. Thus, given his

admiration for persons such as these, particularly Mafia figures, his actions as pled herein can be

taken as threats, as well as being defamatory. And, Plaintiff Corsi is 72 years old. Defendant

Stone’s intentional infliction of emotional distress and coercion and threats are intended to try

even cause Plaintiff Corsi to have heart attacks and strokes, in order that Plaintiff will be unable

to testify at Stone’s criminal trial. Tellingly, Defendant Stone threatened kill a material witness

and his dog, Credico, Person 2 in the Mueller Indictment, “Mafia style.” Defendant Stone also

fashions himself and indeed has the reputation, at a minimum, as being the preeminent “dirty




                                                 3
            Case1:19-cv-00656
           Case  1:19-cv-00324 Document
                                Document11 Filed
                                            Filed03/07/19
                                                  02/07/19 Page
                                                            Page65
                                                                 4 of 12
                                                                      109



trickster.” See “Get Me Roger Stone” on Netflix.

       11.!    Plaintiff Corsi has been named as a material witness to Defendant Stone’s

upcoming prosecution, which has prompted Defendant Stone to try to intimidate, coerce and

threaten Plaintiff Corsi by defaming him and threatening him with physical violence, which is

ironically what he was criminally indicted for, in part.

       12.!    By defaming Plaintiff Corsi, Defendant Stone is hoping to not only intimidate

Plaintiff Corsi to severely harm and damage his reputation, but also to coerce and threaten

Plaintiff Corsi to testify falsely if subpoenaed to be called as a material witness in Defendant

Stone’s ensuing criminal trial. He is also trying divert funds away from Plaintiff Corsi’s legal

defense fund, while boosting his own legal defense fund.

       13.!    Defendant Stone has also used and continues to employ surrogates, either out in

the open or secretly, to defame Plaintiff Corsi, such as his “friend” Michael Caputo, Alex Jones

and J. Owen Stroyer of InfoWars, Cassandra Fairbanks, and reporter Chuck Ross of The Daily

Caller, to name just a few. More surrogates will be identified during discovery and they may be

joined, with leave of court to amend this Complaint, as defendants herein. The use of surrogates

is consistent with Defendant Stone’s reputation as a “dirty trickster” who works as well under

“cover of darkness” to harm and damage others who he sees for whatever reason as adversaries,

political or otherwise as in the case of Plaintiff Corsi. Plaintiff Corsi is not Defendant Stone’s

adversary, as he simply is committed as Person 1 in the Mueller Indictment to testify truthfully if

subpoenaed to testify at Stone’s criminal trial.

       14.!    Defendant Stone is no stranger to defamation lawsuits. As reported by Splinter

News, Defendant Stone was forced to - as part of a settlement in another defamation suit –

apologize in newspapers and on social media for lying about Chinese Businessman Guo Wengui




                                                   4
             Case1:19-cv-00656
            Case  1:19-cv-00324 Document
                                 Document11 Filed
                                             Filed03/07/19
                                                   02/07/19 Page
                                                             Page66
                                                                  5 of 12
                                                                       109



on InfoWars, after having falsely published that Mr. Wengui is a “turncoat criminal who is

convicted of crimes here and in China.”1

         15.!   Defendant Stone has therefore engaged in illegal witness tampering and

intimidation, in violation of 18 U.S.C. § 1512 by virtue of the defamatory and threatening acts

and practices as alleged herein. Not coincidentally, this was what largely he was indicted for by

Special Counsel Robert Mueller.

                   DEFENDANT STONE’S DEFAMATORY STATEMENTS

         16.!   Before Defendant Stone was indicted, on or about January 18, 2019, he appeared

on InfoWars, where he made several false, misleading and defamatory statements in this district,

nationally and internationally regarding Plaintiff Corsi (the “InfoWars Video”).2 The same video

was published on Defendant Stone’s YouTube channel, “Stone Cold Truth,” on January 18,

2019.3

         17.!   At 2:09 in the InfoWars Video, Defendant Stone falsely publishes that Plaintiff

Corsi was “fired from World Net Daily.”

         18.!   At 2:27 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that, “He (Corsi) was perfectly willing to lie, to perjure himself saying that a memo

that he had wrote me was written on the 30th for the purposes of cover-up…. which is further

proof that Jerry lied under oath.”

         19.!   At 2:55 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes, “and then states that I knew about John Podesta’s emails being stolen in advance, the

only proof of that is Jerry’s feeble alcohol affected memory – it’s a lie….”
1
  Sophie Weiner, Roger Stone Lied About a Chinese Businessman on InfoWars and Now He Has
to Tell Everyone, Splinter News, Dec. 17, 2018, available at: https://splinternews.com/roger-
stone-lied-about-a-chinese-businessman-on-infowar-1831162926
2
  https://www.infowars.com/watch/?video=5c3fbf24fe49383dcf6996e4
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  https://www.youtube.com/watch?v=cJyfgdvtFx8


                                                 5
              Case1:19-cv-00656
             Case  1:19-cv-00324 Document
                                  Document11 Filed
                                              Filed03/07/19
                                                    02/07/19 Page
                                                              Page67
                                                                   6 of 12
                                                                        109



         20.!   At 3:35 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “Jerry was prepared to stab a principle Trump supporter in the back, he was

perfectly prepared to bear false witness against me, even though I had done nothing in my entire

life other than help him.”

         21.!   At 4:20 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “all I ever did was show Jerry Corsi friendship and support and try to help him and

his family and what I get is Judas Iscariot, the willingness to testify against me and help the deep

state bury me….and then he makes up this story about helping me formulate a cover story.”

         22.!   At 6:26 in the InfoWars Video, Defendant Stone falsely publishes that “you can

always tell when Jerry Corsi is lying because his lips are moving….”

         23.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi was fired from World Net Daily, that he committed perjury (a federal offense),

and that he is an untruthful person.

         24.!   On January 2, 2019, Defendant Stone published an article on www.infowars.com

titled “ROGER STONE BELIEVES JEROME CORSI WORKS FOR MUELLER4” in which

Defendant Stone falsely, misleadingly, and maliciously writes, “Before you decide that Corsi is a

hero you should be well aware of the fact that the good doctor was prepared to bear false witness

against others in the Trump orbit if he thought it would save his own skin.”

         25.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that
4
    https://www.infowars.com/roger-stone-the-treachery-of-jerome-corsi/


                                                 6
            Case1:19-cv-00656
           Case  1:19-cv-00324 Document
                                Document11 Filed
                                            Filed03/07/19
                                                  02/07/19 Page
                                                            Page68
                                                                 7 of 12
                                                                      109



Plaintiff Corsi committed perjury (a federal offense), and that he is an untruthful person.

        26.!     In another appearance on InfoWars, which was posted to YouTube5 on January

17, 2019, Defendant Stone at 6:22 falsely and misleadingly publishes that “He [Corsi] was

perfectly willing to bear false witness against me on multiple points that are complete

fabrications.”

        27.!     In another appearance on InfoWars, which was posted to YouTube6 on January

24, 2019, Defendant Stone at 5:58 falsely and misleadingly publishes that “the good doctor

[Corsi] has told a number of lies. In fact, he’s starting to conflate his lies…. he was perfectly

willing to lie about me…. but now lying about Alex Jones, lying about InfoWars, lying about Dr.

Jones, who’s one of the nicest, gentlest, sweetest, most honest men I have ever met, it’s beyond

the pale…. Jerry Corsi can no longer be believed.”

        28.!     In the same appearance, Defendant Stone at 8:34 falsely and misleadingly

publishes that, “I think you’ve [Corsi] been deep state from the beginning. Your whole birther

thing is used as a club to destroy conservatives….I look forward to our confrontation. I will

demolish you. You’re a fraudster, out of your alcoholic haze you have made up lies about David

Jones and Alex Jones and Roger Stone and now I suspect they want you to lie about the

President.” This is clearly a threat, as well as being defamatory. It is akin to the threats against

Person 2 in the Mueller Indictment, Randy Credico, who Defendant Stone, as set forth in the

Mueller Indictment, based on Stone’s own words contained in his own documentary evidence,

threatened kill along with Credico’s dog.

        29.!     Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

5
    https://www.youtube.com/watch?v=GJd8YBDvm1Q
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    https://www.youtube.com/watch?v=fXUlJZRxe6E


                                                 7
               Case1:19-cv-00656
              Case  1:19-cv-00324 Document
                                   Document11 Filed
                                               Filed03/07/19
                                                     02/07/19 Page
                                                               Page69
                                                                    8 of 12
                                                                         109



reckless disregard for their truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi committed perjury (a federal offense), is an untruthful person, and is an alcoholic.

They also contain threats against Plaintiff Corsi.

                                   FIRST CAUSE OF ACTION
                                          Defamation

        30.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        31.!     Defendant Stone published malicious, false, misleading and defamatory

statements of and concerning Plaintiff Corsi in this judicial district, nationwide, and worldwide.

        32.!     These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, or at a minimum acted with a reckless disregard

for the truth.

        33.!     Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subjected him to hatred, distrust, ridicule, contempt, and

disgrace.

        34.!     Plaintiff Corsi has been damaged by these false and misleading statements

because they injured Plaintiff Corsi in his profession and business as a journalist and author,

whose credibility is the most important trait, as well as severely injured and damaged him

personally.

                                 SECOND CAUSE OF ACTION
                                     Defamation Per Se

        35.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        36.!     Defendant Stone, as alleged herein, published numerous false, misleading and




                                                  8
            Case1:19-cv-00656
           Case  1:19-cv-00324 Document
                                Document11 Filed
                                            Filed03/07/19
                                                  02/07/19 Page
                                                            Page70
                                                                 9 of 12
                                                                      109



defamatory statements to severely harm and damage Plaintiff Corsi, which were republished

elsewhere, and through surrogates, which publish the falsity that Plaintiff Corsi has committed

crimes, including perjury, and engaged in moral turpitude in the form of alcoholism, as set forth

in the preceding paragraphs.

        37.!    These false, misleading and defamatory statements were published in this district

and on the internet and elsewhere, domestically and for the entire world to see and hear and

specifically Stone published false and misleading facts, inter alia, that Plaintiff’s conduct,

characteristics or a condition is incompatible with the proper exercise of his lawful business,

trade, profession or office.

        38.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        39.!    This statements are per se defamatory because they falsely and misleadingly

publish that Plaintiff Corsi committed perjury, which is a federal offense and felony. Defamation

per se gives rise to the presumption that severe harm and damage has arisen by virtue of the false

and misleading statements.

        40.!    These false, misleading, and defamatory statements are defamatory per se and

these false and misleading statements severely harmed and damaged Plaintiff Corsi in his

profession and business as a journalist and author, whose credibility is the most important trait,

as well as personally.

                                  THIRD CAUSE OF ACTION
                                   Defamation by Implication

        41.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.



                                                  9
            Case1:19-cv-00656
            Case 1:19-cv-00324 Document
                               Document11 Filed
                                          Filed03/07/19
                                                02/07/19 Page
                                                         Page71
                                                              10of
                                                                 of109
                                                                    12



        42.!    Defendant Stone published numerous false, misleading and defamatory

statements about Plaintiff Corsi, as set forth in the preceding paragraphs.

        43.!    These false, misleading and defamatory statements were published on the internet

and published and republished elsewhere in this district, domestically and for the entire world to

see and hear.

        44.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        45.!    These statements created the false and misleading implication that Plaintiff Corsi

is dishonest, committed perjury and is an alcoholic, among other false and misleading statements

as pled in the preceding paragraphs.

        46.!    Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subject him to hatred, distrust, ridicule, contempt, and

disgrace.

        47.!    Plaintiff Corsi has been damaged by these false and misleading statements

because the statements severely harmed and damaged Plaintiff Corsi in his profession as a

journalist and author, whose credibility is the most important trait, as well as personally.

                                FOURTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress

        48.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        49.!    Defendant Stone engaged in extreme and outrageous conduct by threatening

Plaintiff Corsi, in concert with Stone, who has made death threats to at least one witness

involved in Special Counsel Mueller’s Russian collusion investigation, Person 2 Randy Credico.



                                                 10
           Case1:19-cv-00656
           Case 1:19-cv-00324 Document
                              Document11 Filed
                                         Filed03/07/19
                                               02/07/19 Page
                                                        Page72
                                                             11of
                                                                of109
                                                                   12



       50.!    Defendant Stone knowingly and intentionally threatened Plaintiff Corsi, in a

manner similar to other death threats he made to at least one material witness, involved in

Special Counsel Mueller’s Russian collusion investigation, such as Randy Credico, Person 2 in

the Mueller Indictment.

       51.!    Defendant Stone’s extreme and outrageous conduct directly caused Plaintiff Corsi

severe emotional distress and resulting severe harm and damage.

                                  FIFTH CAUSE OF ACTION
                                          Assault

       52.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       53.!    Defendant Stone placed Plaintiff Corsi in apprehension of an imminent harmful or

offensive contact and physical harm and death, by coercing and threatening Plaintiff Corsi, in a

similar manner he has used to make death threats to at least one material witness involved in

Special Counsel Mueller’s Russian collusion investigation, such as Person 2 in the Mueller

Indictment, Randy Credico.

       54.!    The threats issued by Defendant Stone are credible, as he portrays himself as a

“mafia” figure, as set forth above.

       55.!    Plaintiff Corsi did not consent to Defendant Stone’ conduct.

       56.!    As a direct and proximate result of Defendant Stone’s wrongful conduct, Plaintiff

Corsi suffered conscious pain, suffering, severe emotional distress and the fear of imminent

serious bodily injury or death, and other mental and physical injuries, and Plaintiff was severely

harmed and damaged thereby.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Dr. Jerome Corsi prays for judgment against Defendant Stone as



                                                 11
           Case1:19-cv-00656
           Case 1:19-cv-00324 Document
                              Document11 Filed
                                         Filed03/07/19
                                               02/07/19 Page
                                                        Page73
                                                             12of
                                                                of109
                                                                   12



follows:

a.!    Awarding Plaintiff Corsi compensatory including actual, consequential, incidental and

punitive damages for malicious tortious conduct in an amount to be determined at trial and in

excess of $25, 000,000 U.S. Dollars. While Stone feigns being financially destitute as a result of

his legal problems and uses this to raise money for his legal defense fund, on information and

belief he is wealthy, perhaps hiding his wealth in overseas bank accounts.

b.!    Awarding Plaintiff Corsi attorney’s fees and costs.

c.!    Granting any further relief as the Court deems appropriate including preliminary and

permanent injunctive relief, as well as the entry of a gag order against Defendant Stone in his

criminal prosecution before this Court in order that he be prevented from intimidating, coercing

and threatening material witnesses, such as Plaintiff Corsi, who are likely to be subpoenaed to

testify at his trial. In this regard, Plaintiff Corsi will also, with leave of court requested, file an

amicus brief arguing for a gag order on Defendant Stone in the related criminal case United

States of America v. Stone, 19-cr-18 (D.D.C).

Dated: February 7, 2019                                        Respectfully Submitted,


                                                                  /s/ Larry Klayman
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                                                               Washington, DC, 20006
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                                                               Email: leklayman@gmail.com
                                                               Counsel for Plaintiff




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   Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 74 of 109




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Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 75 of 109




          EXHIBIT 4
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 76 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 77 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 78 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 79 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 80 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 81 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 82 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 83 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 84 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 85 of 109
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 86 of 109
   Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 87 of 109




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Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 88 of 109




          EXHIBIT 5
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  89 of 109 Page 1 of 11



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   LARRY KLAYMAN, Individually

                          Plaintiff

                  v.
                                                               Case Number:
   THOMAS J. FITTON, Individually

                          Defendant.



                                COMPLAINT FOR DEFAMATION

          Plaintiff, LARRY KLAYMAN (“Plaintiff” or “Klayman”) hereby files this action against

   THOMAS J. FITTON (“Defendant Fitton”) for Defamation, Defamation Per Se, and Defamation

   by Implication.

                                      JURISDICTION AND VENUE

          1.!     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1332 under diversity of citizenship. The parties are citizens of different states and the amount in

   controversy exceeds $75,000.

          2.!     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as this is the judicial district

   in which a substantial part of the events or omissions giving rise to the claim occurred.

                                            THE PARTIES

          3.!     Plaintiff, Larry Klayman, is an individual and a citizen of Florida. Plaintiff is a

   well-known private lawyer and conservative public interest advocate and litigator, as well as a

   syndicated national radio talk show host on Radio America, his weekly show appropriately titled

   “Special Prosecutor with Larry Klayman.” Plaintiff Klayman conceived of and founded both

   Judicial Watch, Inc. and Freedom Watch, Inc. He is a former federal prosecutor of the Antitrust


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Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  90 of 109 Page 2 of 11



   Division of the U.S. Department of Justice, where he was on the trial team that broke up the AT&T

   monopoly.

           4.!     Defendant, Thomas Fitton, is an individual and a citizen of the District of Columbia,

   whose address is 5245 42nd St NW, Washington, DC 20015. Defendant Fitton is the current

   President of Judicial Watch, which was conceived of and founded by Plaintiff Klayman. He is not a

   lawyer and at the time that Klayman left Judicial Watch on September 19, 2003 to run for the U.S.

   Senate in Florida, Defendant Fitton had not graduated from college. When Plaintiff Klayman hired

   him years earlier as an assistant, he lied to Klayman that he had graduated from George Washington

   University. Since then Defendant Fitton has had a book written for him by “ghost writer,” Ben

   Shapiro, effectively claiming credit for Plaintiff Klayman’s accomplishments in conceiving of,

   founding and running Judicial Watch for almost ten (10) years. Plaintiff Klayman was thus

   conspicuously and maliciously written out of the history of Judicial Watch. The book is titled

   “Corruption Chronicles” and remains on sale on the internet and in book stores. Defendant Fitton

   has also falsely testified multiple times under oath that he does not know who founded Judicial

   Watch, as he continues to try to spread the false narrative and impression he or someone other than

   Klayman founded Judicial Watch, in order to boost his own standing in the conservative community

   and elsewhere, as the expense of Plaintiff Klayman. In short, and regrettably Defendant Fitton, as

   set forth below, is a ‘serial liar” and dishonest.

                                                 STANDING

           5.!     Plaintiff has standing to bring this action because he has been directly affected

   and victimized by the unlawful conduct complained herein. His injuries are proximately related

   to the conduct of Defendant Fitton, individually and working in concert with Roger Stone as set

   forth below.




                                                        2
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  91 of 109 Page 3 of 11



                                                FACTS

          6.!     Defendant Fitton has engaged in a pattern and practice of defaming Plaintiff

   Klayman since Plaintiff’s voluntary departure from Judicial Watch, Inc. to run for the U.S.

   Senate in Florida in 2003-2004.

          7.!     For instance, in 2013, a federal jury in the Southern District of Florida awarded

   Plaintiff Klayman judgment in the sum of $181,000, including punitive damages against Judicial

   Watch for having maliciously defamed Plaintiff. See Exhibit 1 – Jury Verdict and Judgment.

   This jury verdict and judgment is final.

          8.!     Defendant Fitton is now conveniently and incredibly working with Roger Stone

   (“Stone”) to again defame Plaintiff Klayman.

          9.!     Stone was recently indicted on seven (7) felony counts by Special Counsel Robert

   Mueller (“Mueller Indictment”) as part of his “Russian Collusion” investigation for the alleged

   crimes of perjury, witness tampering and obstruction of justice.        See Exhibit 2 – Mueller

   Indictment.

          10.!    Specifically, the seven count Mueller Indictment against Defendant Stone

   involves alleged lying under oath - that is, perjury - witness tampering and obstruction of justice

   by threatening to kill a material witness, Randy Credico (“Credico”) and his dog if Credico did

   not lie to government authorities concerning his involvement with Roger Stone. Credico is

   Person 2 in the Mueller Indictment of Defendant Stone. Id. Person 1 in this Mueller Indictment is

   Dr. Jerome Corsi, another material witness, who is Plaintiff Larry Klayman’s client.

          11.!    Stone has since engaged in a public relations campaign to illegally smear,

   intimidate, coerce and threaten Dr. Jerome Corsi (“Dr. Corsi”), a witness in the “Russian

   Collusion” investigation, and who is being legally represented by Plaintiff Klayman.




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Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  92 of 109 Page 4 of 11



           12.!   Stone knew that he was going to be indicted, and therefore began this illegal

   public relations campaign to smear and defame Dr. Corsi and his lawyer, Larry Klayman, even

   before his actual indictment on January 25, 2019, in order to try to influence public opinion and

   Special Counsel Robert Mueller – by illegally trying to attribute guilt to Dr. Corsi and not him -

   as well as to try to raise money for his legal defense. This pattern and practice of defaming Dr.

   Corsi and his lawyer Larry Klayman is ongoing, so Plaintiff reserves the right to amend this

   Complaint. Stone has recently been sued by Dr. Corsi for defamation, intentional infliction of

   emotional distress and assault.

           13.!   Dr. Corsi has been named as a material witness to Stone’s upcoming prosecution,

   which has prompted Stone to try to intimidate, coerce and threaten Dr. Corsi by defaming him

   and his defense counsel, Plaintiff Klayman, which is ironically what he has been indicted for.

   And, the way to also “get to” Dr. Corsi is for Defendant Stone to also defame his lawyer,

   Plaintiff Larry Klayman

           14.!   By defaming Dr. Corsi and Plaintiff Klayman, Defendant Fitton and Stone are

   working in concert as joint tortfeasors hoping to not only intimidate Dr. Corsi and his counsel to

   severely harm and damage their reputations, but also to coerce and threaten Dr. Corsi to testify

   falsely if subpoenaed to be called as a material witness in Defendant Stone’s ensuing criminal

   trial, as well as to impede and harm Dr. Corsi’s criminal defense. They are also acting in concert

   to divert funds away from Dr. Corsi’s legal defense fund, while boosting Stone’s legal defense

   fund.

           15.!   Before Defendant was indicted, on or about January 18, 2019, he appeared on

   InfoWars, where he made several false, misleading and defamatory statements in this district,




                                                   4
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  93 of 109 Page 5 of 11



   nationally and internationally regarding Plaintiff Klayman (the “InfoWars Video”).1 The same

   video was published on Defendant Stone’s YouTube channel, “Stone Cold Truth,” on January

   18, 2019.2

            16.!   At 1:30, Stone published, “He (Klayman) was ousted at Judicial Watch. Ask Tom

   Fitton [the current president of Judicial Watch] why he left. He left because of a sexual

   harassment complaint.”

            17.!   Stone made this false, defamatory statement at the direction of Defendant Fitton,

   whom he attributes this false and defamatory statement to.

            18.!   Defendant Fitton knew that Plaintiff Klayman was not ousted at Judicial Watch as

   a result of a sexual harassment complaint, but, in actuality, Plaintiff Klayman left Judicial Watch

   on his own accord and voluntarily in order to run for U.S. Senate in Florida.

            19.!   Defendant Fitton with malice and/or a reckless disregard for the truth knew that

   Plaintiff Klayman did not leave Judicial Watch as a result of a sexual harassment complaint.

            20.!   Defendant Fitton knowingly published this false and defamatory statement to

   Stone, who in turn republished it during interviews which were broadcast by him and his

   surrogates in this district, nationally and internationally for the entire world to hear and see. On

   information and belief Fitton has also recently published, within the last two years up to the

   present, this and other false and misleading statements to others to severely harm and damage

   Plaintiff Klayman, such as to the Council for National Policy, the American Conservative Union,

   the Scaife Foundation, other conservative organizations, groups and donors, and media

   publications and television networks such as Fox News, to name just a few. As a non-lawyer

   who currently runs Judicial Watch, Defendant Fitton feels competitive with Klayman, and as

   1
       https://www.infowars.com/watch/?video=5c3fbf24fe49383dcf6996e4
   2
       https://www.youtube.com/watch?v=cJyfgdvtFx8


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Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  94 of 109 Page 6 of 11



   result of what in effect is an “inferiority complex” since he is a non-lawyer who tries to pass

   himself in the media off as a lawyer and legal expert as the current head of Judicial Watch, thus

   has engaged in a concerted campaign to severely damage and harm Klayman’s reputation,

   professional and personal reputation, and family. By severely harming Plaintiff Klayman’s

   reputation and standing in the legal, media and related communities, Defendant Stone’s

   malicious intent is to boost his own reputation and standing at the expense of Klayman, who

   conceived of, founded and successfully ran Judicial Watch for nearly ten (10) years, making it

   the preeminent conservative public interest group fighting against corruption and for ethics and

   justice in government and the legal profession.

           21.!   Defendant Fitton, in concert with Stone, have therefore also engaged in illegal

   witness tampering of Dr. Corsi and his lawyer Plaintiff Klayman in violation of 18 U.S.C. § 1512

   by virtue of the defamatory acts and practices as alleged herein.

                                     FIRST CAUSE OF ACTION
                                            Defamation

           22.!   Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint as if fully set forth herein.

           23.!   Defendant Fitton published the malicious, false and defamatory statement that

   Plaintiff Klayman was ousted at Judicial Watch due to a sexual harassment complaint to Stone,

   who in turn, and in concert with Defendant Fitton, republished this false and defamatory

   statement on the internet domestically, internationally and elsewhere for the entire world to see

   and hear.

           24.!   This false and misleading statement was published with malice, as Defendant

   Fitton knew that it was false and misleading, or at a minimum acted with a reckless disregard for

   the truth.



                                                     6
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  95 of 109 Page 7 of 11



          25.!    Plaintiff Klayman has been severely harmed and damaged by this and other false

   and misleading statements, more of which will be uncovered in discovery, because it subjected

   him to hatred, distrust, ridicule, contempt, and disgrace.

          26.!    Plaintiff Klayman has been severely damaged by this false and misleading

   statement because the malicious statement injured Plaintiff Klayman in his profession and

   business as a public interest and private lawyer and nationally syndicated radio talk show host

   who promotes ethics in government and the legal profession, as well as personally.

                                   SECOND CAUSE OF ACTION
                                       Defamation Per Se

          27.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint.

          28.!    Defendant Fitton published to Stone the malicious false, misleading and

   defamatory statement that Plaintiff Klayman was ousted at Judicial Watch due to a sexual

   harassment complaint, who in turn, and in concert with Defendant Fitton, republished this

   malicious false and defamatory statement on the internet in this district, domestically and

   internationally and elsewhere for the entire world to see and hear.

          29.!    Under Florida Law, “it is established…that an oral communication is

   actionable per se - that is, without a showing of special damage - if it imputes to another (a) a

   criminal offense amounting to a felony, or (b) a presently existing venereal or other loathsome

   and communicable disease, or (c) conduct, characteristics or a condition incompatible with the

   proper exercise of his lawful business, trade, profession or office, or (d) the other being a woman,

   acts of unchastity.” Wolfson v. Kirk, 273 So. 2d 774, 777 (Fla. Dist. Ct. App. 1973).

          30.!    This false and misleading statement was published with malice, as Defendant

   Fitton knew that it was false and misleading, or at a minimum acted with a reckless disregard for



                                                     7
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  96 of 109 Page 8 of 11



   the truth.

           31.!   This malicious false, misleading and defamatory statement was published on the

   internet in this district, domestically and internationally for the entire world to see and hear and

   specifically Defendant Fitton published these malicious false and misleading “facts,” inter alia,

   that Plaintiff’s conduct, characteristics or a condition is incompatible with the proper exercise of

   his lawful business, trade, profession or office

           32.!   This malicious false and misleading statement is per se defamatory because it

   falsely accuses Plaintiff Klayman of being ousted from Judicial Watch because of sexual

   harassment - thereby falsely imputing a criminal and sexually related offense upon Plaintiff

   Klayman – as well as being “ousted” as the chairman and general counsel of Judicial Watch

   because of an actual sexual harassment complaint, as well as the other false and misleading

   published statements alleged herein. To the contrary, on information and belief Fitton himself

   hypocritically had and may continue to have an “intimate personal relationship” with another

   director and member of the board of Judicial Watch, Paul Orfanedes, which on information and

   belief may constitute sexual harassment, as Defendant Fitton is Orfanedes’ superior as a result of

   Fitton being the president of Judicial Watch. Defendant Fitton also sits on the board of directors

   along with Orfanedes, one of only three (3) directors, all of whom are also employed by Judicial

   Watch. By maliciously defaming Plaintiff Klayman, Defendant Fitton intended and intends to

   deflect attention away from his issues, vulnerabilities and conduct.

           33.!   This false, misleading, and defamatory statement concerning Plaintiff Klayman is

   defamatory per se and this false and misleading statement, and others which will be uncovered in

   discovery, severely harmed and damaged Plaintiff Klayman in his profession and business as a

   lawyer and advocate and as a nationally syndicated radio talk show host, as they concern conduct




                                                      8
Case 1:19-cv-20544-XXXX   Document
            Case 1:19-cv-00656     1 Entered
                               Document      on FLSD
                                        1 Filed      Docket
                                                03/07/19    02/11/2019
                                                         Page  97 of 109 Page 9 of 11



   and characteristics incompatible with being a lawyer and radio talk show host who promotes

   ethics in government and the legal profession. Damage is presumed by law when defamation per

   se is shown.

                                    THIRD CAUSE OF ACTION
                                     Defamation by Implication

            34.!   Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint as if fully set forth herein.

            35.!   Defendant Fitton published to Stone the false, misleading and defamatory

   statement that Plaintiff Klayman was ousted at Judicial Watch due to a sexual harassment

   complaint, who in turn, and in concert with Defendant Fitton, republished this false and

   defamatory statement on the internet in this district, domestically and internationally and

   elsewhere for the entire world to see and hear.

            36.!   This false, misleading and defamatory statement was published with malice, as

   Defendant Fitton knew that it was false, or at a minimum acted with a reckless disregard for the

   truth.

            37.!   This malicious statement created the false and misleading implication that

   Plaintiff Klayman has engaged been subject to a sexual harassment complaint and was ousted

   from Judicial Watch for this reason and committed criminal sexual offenses, as well as other

   matters of moral turpitude as set forth in this Complaint.

            38.!   Plaintiff Klayman has been severely harmed damaged by this published statement

   because it subjected him to hatred, distrust, ridicule, contempt, and disgrace.

            39.!   Plaintiff Klayman has been damaged by malicious this false and misleading

   statement, and others which will be disclosed during discovery, because the statements severely

   harmed and damaged Plaintiff Klayman in his profession and business as a public advocate and



                                                     9
Case 1:19-cv-20544-XXXX    Document
             Case 1:19-cv-00656     1 Entered
                                Document      on FLSD
                                          1 Filed      Docket
                                                  03/07/19    02/11/2019
                                                           Page  98 of 109Page 10 of 11



   as a syndicated radio talk show host who promotes ethics in government and the legal profession,

   and personally, as pled herein.

          40.!    On information and belief Defendant Fitton’s defamatory conduct, in concert with

   Stone and individually, is on-going and as more defamatory conduct is uncovered through

   discovery and otherwise, this defamatory conduct will be subject to a motion to amend this

   Complaint.

          41.!    Defendant Fitton’s malicious intent to severely harm and damage Plaintiff

   Klayman is largely based on an “inferiority complex” that he is not a lawyer and thus he feels

   competitive with Klayman. Indeed, at the time that Plaintiff left Judicial Watch on September 19,

   2003, to run for the U.S. Senate in Florida Fitton had not graduated from college, his having lied

   to Klayman that he did have a bachelor’s degree from George Washington University. This false

   statement fraudulently induced Klayman to offer him a job at the public interest organization. As

   a non-lawyer Fitton inappropriately does not have the background and expertise to now head

   Judicial Watch and make expert legal commentary on television, radio, the internet and in print,

   as Judicial Watch was conceived to in effect be and is a public interest law firm.

          42.!    Plaintiff Klayman has steadfastly demanded that Defendant Fitton refrain from

   making the malicious false and misleading statement as alleged herein, but he has refused and

   Fitton has also refused to correct this and other false and misleading statements in the past,

   regrettably necessitating the need for this and other legal complaints. The false and misleading

   statement published in concert with Stone has since been republished by others to severely harm

   and damage Plaintiff Klayman and his client Dr. Corsi. Defendant Fitton’s campaign to severely

   harm and damage Plaintiff Klayman is maliciously intended to boost his own standing at the

   expense of Plaintiff Klayman in the conservative community, media and with donors and




                                                   10
Case 1:19-cv-20544-XXXX    Document
             Case 1:19-cv-00656     1 Entered
                                Document      on FLSD
                                          1 Filed      Docket
                                                  03/07/19    02/11/2019
                                                           Page  99 of 109Page 11 of 11



   elsewhere and it continues unabated.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Larry Klayman prays for judgment against Defendant Fitton as

   follows:

   a.!    Awarding Plaintiff Klayman compensatory including actual, consequential, incidental

   and punitive damages for malicious tortious conduct as alleged herein in an amount to be

   determined at trial and in excess of $35, 000,000 U.S. Dollars.

   b.!    Awarding Plaintiff Klayman attorney’s fees and costs.

   c.!    Granting any such further relief as the Court deems appropriate including preliminary and

   permanent injunctive relief.

   PLAINTIFF KLAYMAN DEMANDS A JURY TRIAL ON ALL COUNTS SO TRIABLE.

   Dated: February 11, 2019                                    Respectfully Submitted,

                                                                  /s/ Larry Klayman
                                                               Larry Klayman, Esq.
                                                               FL Bar No. 246220
                                                               KLAYMAN LAW GROUP, P.A.
                                                               c/o 2020 Pennsylvania Ave., N.W.
                                                               Suite 800
                                                               Washington, D.C. 20006
                                                               Telephone: (310) 595 - 0800
                                                               Email: leklayman@gmail.com




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   Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 101 of 109




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Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 102 of 109




           EXHIBIT 6
                Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 103 of 109




Larry Klayman, founder of Judicial Watch and       of the European Union in its Competition
Freedom Watch, is known for his strong             Directorate in Brussels, Belgium. During law
public interest advocacy in furtherance of         school, Larry also worked for the U.S.
ethics in government and individual freedoms       International Trade Commission in
and liberties. During his tenure                                  Washington, D.C.
at Judicial Watch, he obtained
a court ruling that Bill Clinton                                 Larry speaks four languages—
committed a crime, the first                                     English, French, Italian, and
lawyer ever to have done so                                      Spanish—and is an
against an American president.                                   international lawyer, among his
Larry became so famous for                                       many areas of legal expertise
fighting corruption in the                                       and practice.
government and the legal
profession that the NBC hit                                      The author of two books, Fatal
drama series "West Wing"                                         Neglect and Whores: Why and
created a character after him:                                   How I Came to Fight the
Harry Klaypool of Freedom                                        Establishment, Larry has a
Watch. His character was                                         third book in the works dealing
played by actor John Diehl.                                      with the breakdown of our
                                                                 political and legal systems. His
In 2004, Larry ran for the U.S.                                  current book, Whores, is on
Senate as a Republican in Florida's primary.       now sale at WND.com, Amazon.com,
After the race ended, he founded Freedom           BarnesandNoble.com, Borders.com, and all
Watch.                                             major stores and booksellers.

Larry graduated from Duke University with          Larry is a frequent commentator on television
honors in political science and French             and radio, as well as a weekly columnist, on
literature. Later, he received a law degree from   Friday, for WND.com. He also writes a regular
Emory University. During the administration        blog for Newsmax called "Klayman's Court."
of President Ronald Reagan, Larry was a
Justice Department prosecutor and was on the       Larry has been credited as being the
trial team that succeeded in breaking up the       inspiration for the Tea Party movement. (See
telephone monopoly of AT&T, thereby                "Larry Klayman - The One Man TEA Party,"
creating competition in the                        by Dr. Richard Swier, http://fwusa.org/KFA)
telecommunications industry.

Between Duke and Emory, Larry worked for                       Support the work of
U.S. Senator Richard Schweiker (R-Pa.)                         Freedom Watch at
during the Watergate era. He has also studied                  www.FreedomWatchUSA.org
abroad and was a stagiaire for the Commission
Case 1:19-cv-00656 Document 1 Filed 03/07/19 Page 104 of 109




           EXHIBIT 7
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     N         R R as to R         R . S N , R. n e ruar 19, 2019, the Court ordered the defendant to show
  cause at a hearing to e held on e ruar 21, 2019 as to wh the media communications order entered in this
  case 3 and/or defendant s conditions of release 21 should not e modi ed or re oked. hearing was held on
  this date. or the reasons set forth on the record, and ased upon the entire record, including the sealed exhi it to
  the hearing 2 , the testimon of the defendant, the arguments of counsel, and the su missions of the
  parties 28 29 led in connection with the potential imposition of a media communications order, the Court
  entered the following order at the hearing: the conditions of defendant s pretrial release 21 are here modi ed to
  include the condition that, and the e ruar 1 , 2019 media communications order 3 is here modi ed to
  pro ide that, the defendant is prohi ited from making statements to the media or in pu lic settings a out the
  Special Counsel s in estigation or this case or an of the participants in the in estigation or the case. he
  prohi ition includes, ut is not limited to, statements made a out the case through the following means: radio
   roadcasts inter iews on tele ision, on the radio, with print reporters, or on internet ased media press releases
  or press conferences logs or letters to the editor and posts on ace ook, witter, nstagram, or an other form
  of social media. urthermore, the defendant ma not comment pu licl a out the case indirectl             ha ing
  statements made pu licl on his ehalf         surrogates, famil mem ers, spokespersons, representati es, or
   olunteers. he order to show cause is here        acated. Signed    udge m erman ackson on 2/21/19.
             ntered: 02/21/2019




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                                                                                  framed him despite
                                                                                                 Pagegag order
                                                                                                           106 of 109
  Stone deleted the only image in that multi-image post that included
                                                                                                        Constant Fatigue Is A Warning Sign – See The Simple
  "Who framed Roger Stone" language shortly after CNBC emailed                                          Fix
  his lawyer to ask about it.                                                                           Gundry MD



                                                                                                                                                     by Taboola


                                                                                                        House Democrats
                                                                                                        unveil a sweeping
                                                                                                        'Medicare-for-all' bill —
                                                                                                        here's what's in it
                                                                                                        Michael Cohen's
                                                                                                        testimony gives both
                                                                                                        sides fodder in a
                                                                                                        possible impeachment
                                                                                                        ﬁght
                                                                                                        A 'shock and awe' rally
                                                                                                        scenario that could rip
                          MARKETS                                   WATCHLIST                           the market 7%TVhigher
                                                                                                                 CNBC                                   MENU


                                                                                                        Bloomberg aides
                                                                                                        interview staffers in
                                                                                                        New Hampshire, Iowa
                                                                                                        as the billionaire
                                                                                                        considers 2020 run
                                                                                                        These are the cities
                                                                                                        where you can live
                                                                                                        comfortably on
                                                                                                        $50,000 a year
                                                                                                        Michael Cohen says
                                                                                                        prosecutors are
                                                                                                        investigating previously
                                                                                                        undisclosed
                                                                                                        wrongdoing related to
                                                                                                        Trump

                                                                                                        TRENDING NOW


                                                                                                                             1.     Brett Kavanaugh:
                                                                                                                                    State laws blocking
                                                                                                                                    taxpayer-funded
                                                                                                                                    church repairs are
                                                                                                                                    'pure discrimination'
  Stone's post was put online less than 48 hours after the judge, Amy
  Berman Jackson, ordered lawyers for the admitted Republican "dirty                                                        2.      Southwest Airlines
                                                                                                                                    starts selling its ﬁrst
  trickster" to explain why they did not tell her earlier about the
                                                                                                                                    Hawaii ﬂights, from
  planned publication of a book by Stone that could violate her gag                                                                 $49 one way
  order on him.


      LIVE, NEWS-MAKING DISCUSSIONS                                                                                         3.      Tesla's onslaught of
                                                                                                                                    announcements is
                                                                                                                                    raising red ﬂags
      UNIQUE, IN-PERSON EXPERIENCES                                                                                                 about demand for its
                                                                                                                                    cars
            LEARN MORE + JOIN US

                                                                                                                                    Roger Stone
                                                                                                                                    suggests Robert

https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                                                          2/6
3/4/2019                    Case 1:19-cv-00656RogerDocument
                                                    Stone suggests Robert
                                                                   1 FiledMueller03/07/19
                                                                                  framed him despite
                                                                                                 Pagegag order
                                                                                                           107 of 109
  Stone announced on Instagram in January that he was coming out                                                       Mueller 'framed' him
  with the book, "The Myth of Russian Collusion: The Inside Story of                                                   in Instagram post that
  How Trump Really Won."                                                                                               could violate gag
                                                                                                                       order
  In her gag order in U.S District Court in Washington, D.C., Jackson

                                                                                                                  5.
  barred Stone from "making statements to the media or in public                                                       'Beverly Hills, 90210'
  settings about the Special Counsel's investigation or this case or any                                               and 'Riverdale' star
  of the participants in the investigation or the case."                                                               Luke Perry died at 52
                                                                                                                       after suffering a
  The gag extends to "posts on Facebook, Twitter, Instagram or any                                                     massive stroke
  other form of social media." If Stone violates the order, Jackson
  could order him jailed without bail until his trial.

  Jackson had slapped that order on Stone on Feb. 21 after he posted
  on Instagram a photo showing the judge's face next to a riﬂe scope's
  crosshair.
                          MARKETS                                   WATCHLIST                           CNBC TV                         MENU




              Jon Swaine
              @jonswaine

      Roger Stone now directly attacking the federal judge presiding
      over his case and posting a pic of her head beside crosshairs
           9,929 11:12 AM - Feb 18, 2019

           10.2K people are talking about this



  Stone's new post is comprised of a rotating series of images that ask
  for money to support Stone's defense to charges that he lied to
  Congress and tampered with a witness.

  One says, "I am committed to proving my innocence. But I need
  your help." Another photo, which shows a young Stone standing

https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                                           3/6
3/4/2019                    Case 1:19-cv-00656RogerDocument
                                                    Stone suggests Robert
                                                                   1 FiledMueller03/07/19
                                                                                  framed him despite
                                                                                                 Pagegag order
                                                                                                           108 of 109
  behind Trump years ago, says, "I've always had Trump's back. Will
  you have mine?" Two other images tout a "Roger Stone Did Nothing
  Wrong" t-shirt and "Stone Cold Truth" sweatshirt.

  The post originally had an image showing Stone wearing eyeglasses
  under the words "Who Framed Roger Stone," a reference to the
  movie "Who Framed Roger Rabbit." The image has been on the
  Internet for some time.




              Shelby Holliday
              @shelbyholliday

      New in Instagramland: Roger Stone, using Insta stories (which
      disappear after 24 hrs), suggests he’s being framed.
           2,224 10:40 AM - Mar 3, 2019

           2,253 people are talking about this



  A spokesman for Mueller declined to comment Sunday. Stone's
  lawyer did not immediately respond to a request for comment.

  Stone, who remains free on a $250,000 signature bond, was
  arrested in Florida in late January and has pleaded not guilty to the
  seven counts against him, including making false statements to
  Congress, witness tampering and obstructing justice.

  Mueller has said Stone lied to Congress about his alleged eﬀorts to
  have WikiLeaks release material hacked by Russian agents from
  Democrats, including Hillary Clinton's campaign chairman, during
  the 2016 campaign that ended with Trump's victory.



https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                   4/6
3/4/2019                    Case 1:19-cv-00656RogerDocument
                                                    Stone suggests Robert
                                                                   1 FiledMueller03/07/19
                                                                                  framed him despite
                                                                                                 Pagegag order
                                                                                                           109 of 109
  An indictment alleges Stone was in contact with top-ranking Trump
  campaign oﬃcials about eﬀorts to leak damaging information about
  Clinton right before Election Day.


                Dan Mangan
                Reporter




  FROM THE WEB                                                      Sponsored Links by Taboola


  Drivers who switch save an average of $668 on car insurance.
  Progressive




  Before you renew Amazon Prime, read this
  Wikibuy




  U.S. Cardiologist: It's Like a Pressure Wash for Your Insides
  Health Headlines




  Man Who Called DOW 20,000 Has Surprising New Prediction
  Investing Outlook




  These German hearing aids are going viral
  hear.com




  If Your Indoor Cat Vomits (Do This Every Day)
  Ultimate Pet Nutrition




  MORE FROM CNBC                                                                   by Taboola




  House Judiciary Committee chair Nadler says Trump obstructed
  justice, will request documents


  Trump will be 'very tough to beat' in 2020 if he gets three things
  right: Scaramucci


  Cohen brings Trump's net worth statements to hearing. Here's how
  to read them


  Trump, from Vietnam, berates 'Da Nang Dick' Blumenthal for war
  record


  Michael Cohen: 'I fear' Trump won't peacefully give up the White
  House if he loses the 2020 election


  GOP Rep. tweets at Michael Cohen on eve of hearing: Does your
  wife 'know about your girlfriends?'
https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                   5/6
                           Case 1:19-cv-00656 Document 1-1 Filed 03/07/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Jerome Corsi, Larry Klayman                                                    InfoWars, LLC; Free Speech Systems, LLC; Alex Jones;
                                                                                David Jones; Owen Shroyer


 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Klayman Law Group P.A.
 2020 Pennsylvania Ave NW #800
 Washington DC 20006


 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:19-cv-00656 Document 1-1 Filed 03/07/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Defamation, IIED, Assault; Lanham Act

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
               3/7/2019
 DATE: _________________________                                                                     /s/ Larry Klayman
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:19-cv-00656 Document 1-2 Filed 03/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Columbia
                                                             District of __________

                   JEROME CORSI, et al                            )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 19-cv-656
                                                                  )
                   INFOWARS, LLC, et al                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ALEX E. JONES
                                       3019 Alvin Devane Blvd., Suite 300-350
                                       Austin, TX 78741




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Larry Klayman, Esq.
                                       Klayman Law Group P.A.
                                       2020 Pennsylvania Ave, N.W., #800
                                       Washington, D.C., 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:               8/9/2016
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-00656 Document 1-2 Filed 03/07/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-656

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:19-cv-00656 Document 1-3 Filed 03/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Columbia
                                                             District of __________

                   JEROME CORSI, et al                            )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 19-cv-656
                                                                  )
                   INFOWARS, LLC, et al                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DAVID JONES
                                       3019 Alvin Devane Blvd., Suite 300-350
                                       Austin, TX 78741




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Larry Klayman, Esq.
                                       Klayman Law Group P.A.
                                       2020 Pennsylvania Ave, N.W., #800
                                       Washington, D.C., 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:               8/9/2016
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-00656 Document 1-3 Filed 03/07/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-656

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:19-cv-00656 Document 1-4 Filed 03/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Columbia
                                                            District of __________

                   JEROME CORSI, et al                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 19-cv-656
                                                                 )
                   INFOWARS, LLC, et al                          )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FREE SPEECH SYSTEMS, LLC
                                       100 Congress Ave., 22nd Floor
                                       Austin, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Larry Klayman, Esq.
                                       Klayman Law Group P.A.
                                       2020 Pennsylvania Ave, N.W., #800
                                       Washington, D.C., 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:               8/9/2016
                                                                                      Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-00656 Document 1-4 Filed 03/07/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-656

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:19-cv-00656 Document 1-5 Filed 03/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Columbia
                                                            District of __________

                   JEROME CORSI, et al                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 19-cv-656
                                                                 )
                   INFOWARS, LLC, et al                          )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) INFOWARS, LLC
                                       100 Congress Ave., 22nd Floor
                                       Austin, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Larry Klayman, Esq.
                                       Klayman Law Group P.A.
                                       2020 Pennsylvania Ave, N.W., #800
                                       Washington, D.C., 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:               8/9/2016
                                                                                      Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-00656 Document 1-5 Filed 03/07/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-656

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:19-cv-00656 Document 1-6 Filed 03/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Columbia
                                                             District of __________

                   JEROME CORSI, et al                            )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 19-cv-656
                                                                  )
                   INFOWARS, LLC, et al                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OWEN SHROYER
                                       3019 Alvin Devane Blvd., Suite 300-350
                                       Austin, TX 78741




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Larry Klayman, Esq.
                                       Klayman Law Group P.A.
                                       2020 Pennsylvania Ave, N.W., #800
                                       Washington, D.C., 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:               8/9/2016
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-00656 Document 1-6 Filed 03/07/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-656

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
